                    Case 19-10283 Doc    1 Filed 06/26/19 Entered                                          06/26/19 14:19:51
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF VERMONT

Case number (if known)                                                     Chapter   11
                                                                                                                         Check if this an
                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                       4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Springfield Hospital, Inc.

2.   All other names debtor       DBA     Mointain View Physical Therapy (Active Trade Name)
     used in the last 8 years     DBA     Breast Care Center (Active Trade Name)
                                  DBA     Connecticut Valley Ear, Notes & Throat (Active Trade Name)
     Include any assumed
     names, trade names and       DBA     Springfield Hospital Foundation (Active Trade Name)
     doing business as names      DBA     Connecticut Valley Orthopaedics & Sports Medicine (Active Trade Name)
                                  DBA     The Windham Center for Psychiatric Care (Active Trade Name)
                                  DBA     Surgical Associates (Active Trade Name)
                                  DBA     Springfield Specialty Physicians (Active Trade Name)
                                  DBA     Springfield Sleep Medicine (Active Trade Name)
                                  DBA     Healthworks (Active Trade Name)
                                  DBA     Ludlow Health Center (Active Trade Name)
                                  DBA     Springfield Urology Associates (Active Trade Name)
                                  DBA     Springfield Hospitalist Service (Active Trade Name)
                                  DBA     Springfield Area Adult Day Service (Active Trade Name)
                                  DBA     Charlestown Family Medicine (Active Trade Name)
                                  DBA     Squeaky Sneakers (Expired 7/10/2011)
                                  DBA     Bellows Falls Childcare Center (Expired 7/10/2011)
                                  DBA     Rockingham Area Health Center (Expired 9/16/2011)
                                  DBA     Springfield Internal Medicine (Expired 8/7/2014)
                                  DBA     Pediatrict Network (Expired 8/7/14)
                                  DBA     Connecticut Valley Ear, Nose & Throat (Expired 10/27/2014)
                                  DBA     Family Medicine Associates (Expired 11/12/2015)
                                  DBA     The Windham Center for Mental Health Services (Expired 7/7/2011)
                                  DBA     The Women's Health Center of Springfield (Expired 10/30/2017)
                                  DBA     Rockingham Medical Group (Expired 10/27/2012)
                                  DBA     CT Valley FNT (Expired 10/27/2012)
                                  DBA     Springfield Medical Group (Expired 10/27/2012)
                                  DBA     The Skin Cancer Clinic (Expired 10/26/2017)
                                  DBA     Springfield Urology (Expired 10/26/2017)

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                 Mailing address, if different from principal place of
                                                                                              business

                                  25 Ridgewood Road
                                  Springfield, VT 05156
                                  Number, Street, City, State & ZIP Code                      P.O. Box, Number, Street, City, State & ZIP Code

                                  Windsor                                                     Location of principal assets, if different from principal
                                  County                                                      place of business

                                                                                              Number, Street, City, State & ZIP Code


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Debtor
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                                                               Case number (if known)
         Springfield Hospital, Inc.
         Name



5.   Debtor's website (URL)   www.springfieldhospital.org


6.   Type of debtor              Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                 Partnership (excluding LLP)
                                 Other. Specify:




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                                                               Case number (if known)
          Springfield Hospital, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     Springfield Medical Care Systems, Inc.                     Relationship              Affiliate
                                                  District   Vermont                       When                         Case number, if known




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Debtor
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                                                               Case number (if known)
         Springfield Hospital, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                                                                        50,001-100,000
                                                                                     5001-10,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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 Fill in this information to identify the case:
 Debtor name Springfield Hospital, Inc.
 United States Bankruptcy Court for the: DISTRICT OF VERMONT                                                                                          Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AMPERSAND                                                       Trade Debt                                                                                               $76,973.00
 BROCKWAY MILLS
 HYDRO                           617-933-7200
 717 ATLANTIC
 AVENUE, SUITE 1A
 BOSTON, MA 02111
 BERRY DUNN                                                      Trade Debt                                                                                             $119,662.00
 PO BOX 1100
 100 MIDDLE                      603-669-7337
 STREET
 PORTLAND, ME
 04104-9862
 CANON FINANCIAL                                                 Trade Debt                                                                                               $53,902.00
 SERVICES, INC
 14904
 COLLECTIONS
 CENTER DRIVE
 CHICAGO, IL
 60693-0149
 DARTMOUTH                                                       Trade Debt                                                                                             $326,924.00
 HITCHCOCK
 ATTN: TREASURY                  603-653-1157
 DEPT - CBH
 ONE MEDICAL
 CENTER DR
 LEBANON, NH
 03766
 INFINITT NORTH                                                  Trade Debt                                                                                             $261,616.00
 AMERICA INC
 HILLCREST                       908-387-6960
 PROFESSIONAL
 PLAZA
 755 MEMORIAL
 PARKWAY STE 304
 PHILLIPSBURG, NJ
 08865




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Springfield Hospital, Inc.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 INSIGHT HEALTH                                                  Trade Debt                                                                                             $129,509.00
 CORP
 PO BOX 847689                   800-922-6296
 DALLAS, TX 75284
 Internal Revenue                                                Provider Tax (Est.)                                                                                    $555,510.00
 Service c/o United
 Stat
 11 Elmwood Ave.,
 3rd Fl.
 P.O. Box 570
 Burlington, VT
 05402-0570
 MCKESSON                                                        Trade Debt                                                                                             $174,217.00
 PO BOX 848442
 DALLAS, TX                      855-625-7385
 75284-8442
 NEW ENGLAND                                                     Trade Debt                                                                                             $214,488.00
 ALLIANCE FOR
 HEALT                           603-653-1149
 DARTMOUTH
 HITCHCOCK
 One Medical Center
 Drive
 LEBANON, NH
 03756-0001
 NUANCE                                                          Trade Debt                                                                                               $61,730.00
 COMMUNICATIONS
 INC                             866-383-9031
 PO BOX 7247-6924
 PHILADELPHIA, PA
 17170-6924
 ONECAREVERMON                                                   Trade Debt                                                                                             $501,165.00
 T
 ATTN: THOMAS
 BORYS
 356 MOUNTAIN
 VIEW DR SUITE 301
 COLCHESTER, VT
 05446
 PROACT INC                                                      Trade Debt                                                                                             $642,307.00
 PO BOX 1179
 BUFFALO, NY 14240               877-776-2285
 RUTLAND                                                         Trade Debt                                                                                             $101,688.00
 REGIONAL MED
 CENTER                          802-772-2856
 160 ALLEN STREET
 RUTLAND, VT 05701
 SMITH & NEPHEW                                                  Trade Debt                                                                                             $270,355.00
 INC
 PO BOX 205651                   800-343-8386
 DALLAS, TX
 75320-5651


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Springfield Hospital, Inc.                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 SPRAGUE ENERGY                                                  Trade Debt                                                                                               $66,770.00
 CORP
 PO BOX 842985                   800-225-1560
 BOSTON, MA
 02284-2985
 STATE OF                                                        Medicare/Medicai                                                                                     $2,037,933.00
 VERMONT                                                         d Overpayment
 LOCK BOX                        802-879-5900
 STATE OF
 VERMONT AGENCY
 OF HUMAN
 SERVICE
 WILLISTON, VT
 05495
 T SYSTEMS                                                       Trade Debt                                                                                               $67,250.00
 TECHNOLOGIES
 LTD                             800-667-2482
 PO BOX 122537
 DEPT 2537
 DALLAS, TX
 75312-2537
 UNIVERSITY OF VT                                                Trade Debt                                                                                             $214,475.00
 MED CTR INC
 PO BOX 1902                     802-847-1793
 BURLINGTON, VT
 05402-1902
 VISTA STAFFING                                                  Trade Debt                                                                                               $66,276.00
 SOLUTIONS
 FILE 50834
 LOS ANGELES, CA
 90074-0834
 WEATHERBY                                                       Trade Debt                                                                                               $72,833.00
 LOCUMS INC
 PO BOX 972633                   800-328-3021
 DALLAS, TX
 75397-2633




The Debtor reserves the right to dispute the amount, nature or character of each of these claims.




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                     3E COMPANY CORP
                     PO BOX 5307
                     NEW YORK, NY 10087-5307

                     3M
                     PO BOX 842689
                     DALLAS, TX 75284

                     A I M
                     PO Box 4070
                     Burlington, MA 01803-0973

                     A.I.M. MUTUAL INSURANCE COMPAN
                     P.O. BOX 4131
                     WOBURN, MA 01888-4131

                     AAOS
                     6546 SOLUTIONS CTR
                     CHICAGO, IL 60677-6005

                     AARP HEALTH CARE OPTIONS
                     BOX 740819
                     ATLANTA, GA 30374-0819

                     AARP Mcare Complete HCFA
                     PO Box 31361
                     Salt Lake CIty, UT 84131-0361

                     ABBOTT BROWN INC
                     DBA THE INN AT WEATHERSFIELD
                     1342 RTE 106
                     PERKINSVILLE, VT 05151

                     ABBOTT NUTRITION
                     75 REMITTANCE DR-STE 1310
                     CHICAGO, IL 60675-1310

                     ABBOTT SEPTIC SERVICE
                     372 RIVER RD
                     CHARLESTOWN, NH 03603

                     ABILITY NETWORK INC
                     PO BOX 856015
                     MINNEAPOLIS, MN 55485-6015

                     ABMS SOLUTIONS LLC
                     26146 NETWORK PLACE
                     CHICAGO, IL 60673-1606

                     ACADEMY OF NUTRITION & DIETETI
                     PO BOX 97215
                     CHICAGO, IL 60678-7215
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                 ACADIA
                 PO BOX 9010
                 WESTBROOK, ME 04098-9010

                 ACCOUNT SERVICES EXCHANGE LLC
                 PO BOX 609
                 CEDAR RAPIDS, IA 52406-0609

                 ACCUTOME INC
                 3222 PHOENISVILLE PIKE
                 MALVERN, PA 19355

                 ACUMED LLC
                 7995 COLLECTION CENTER DR
                 CHICAGO, IL 60693

                 ACUTE MEDICAL GAS
                 470 MAST ROAD, SUITE B
                 GOFFSTOWN, NH 03045-5248

                 ADAM PRUETT
                 365 WEST RD
                 MANCHESTER CENTER, VT 05255

                 ADRIENNE WILLIAMS
                 78 BRIGHAM HILL RD
                 NORWICH, VT 05055

                 ADVANCE MEDICAL DESIGNS INC
                 1241 ATLANTA INDUSTRIAL DR
                 MARIETTA, GA 30066

                 ADVANCED ANSWERING CENTER INC
                 1697 US RTE 4, STE 6
                 RUTLAND, VT 05701-6637

                 Aetna
                 PO Box 14079
                 Lexington, KY 40512

                 Aetna
                 PO Box 14770
                 Lexington, KY 40512-4770

                 Aetna   First Health
                 PO Box 981106
                 El Paso, TX 79998-1106

                 Aetna Global Benefits
                 PO Box 30259
                 Tampa, FL 33630-3259

                 AETNA HMO
                 PO BOX 981106
                 EL PASO, TX 07998-1106
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                 AETNA LIFE
                 BOX 981109
                 EL PASO, TX 79998-1109

                 Aetna Life Insurance HMO HCFA
                 980 Jolly Road
                 Blue Bell, PA 19422

                 AFLAC
                 ATTN: REMITTANCE PROC SERVICES
                 1932 WYNNTON RD
                 COLUMBUS, GA 31999-0001

                 AGFA HEALTHCARE CORP
                 PO BOX 7247-6204
                 PHILADELPHIA, PA 19170-6204

                 AHIMA
                 PO BOX 4295
                 CAROL STREAM, IL 60197-4295

                 AIRGAS EAST
                 PO BOX 802576
                 CHICAGO, IL 60680-2576

                 AIRTEST
                 PO BOX 7602
                 NASHUA, NH 03060

                 ALBERTSONS SAFEWAY
                 33014 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693-0330

                 ALCO SALES & SERVICE INC.
                 6851 HIGH GROVE BLVD
                 BURR RIDGE, IL 60527

                 ALCON LABORATORIES INC
                 PO BOX 677775
                 DALLAS, TX 75267-7775

                 ALDRETE SCORE INC
                 PO BOX 4627
                 SANTA ROSA BEACH, FL 32459

                 ALDRICH CYNTHIA PT LTD
                 160 WALL STREET
                 SPRINGFIELD, VT 05156

                 ALEXANDRIA GRASLEY
                 6 LAMSON AVE
                 SPRINGFIELD, VT 05156
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                 ALEXIS MULLEN
                 18 WITNESS OAK WAY
                 BELLOWS FALLS, VT 05101

                 ALICE PECK DAY MEM HOSP
                 125 MASCOMA ST
                 LEBANON, NH 03766

                 ALICE PECK DAY MEM HOSPITAL
                 10 ALICE PECK DAY DR
                 LEBANON, NH 03766

                 Aliera Healthcare Unity
                 PO Box 16818
                 Lubbock, TX 79490-6818

                 ALIMED INC
                 PO BOX 206417
                 DALLAS, TX 75320

                 ALL SERVICE OFFICE MACHINES
                 PO BOX 996
                 CHARLESTOWN, NH 03603

                 ALLERGAN USA INC
                 12975 COLLECTIONS CTR DR
                 CHICAGO, IL 60693

                 ALLIANCE MECHANICAL
                 PO BOX 666
                 ESSEX JCT, VT 05453

                 ALLIANT FOODSERVICE INC
                 BOX 371284
                 PITTSBURGH, PA 15251-7284

                 ALLISON LESSARD
                 6 HARRIS PLACE
                 CLAREMONT, NH 03473

                 ALLISON WILLIE
                 130 BANNING ROAD
                 PUTNEY, VT 05346

                 ALLSTATES MEDICAID INC
                 2 SOUTH MAIN ST
                 MILFORD, MA 01757

                 ALVA WASTE SERVICES LLC
                 1050 CHARLESTOWN RD
                 SPRINGFIELD, VT 05156

                 AM BANKERS INS CO OF FLORIDA
                 P O BOX 731178
                 DALLAS, TX 75373-1178
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                 AMANDA ROGERS
                 55 BLEY ROAD
                 ALSTEAD, NH 03602

                 AMBETTER
                 PO BOX 5010
                 FARMINGTON, MO 63640-5010

                 AMELIA CARSON
                 911 CHASE ROAD
                 WINDHAM, VT 05359

                 AMERICAN COLLEGE OF RADIOLOGY
                 1891 PRESTON WHITE DR
                 RESTON, VA 20191

                 AMERICAN COLLEGE OF SURGEONS
                 PROFESSIONAL ASSOCIATION
                 DEPT 8021 PO BOX 87618
                 CHICAGO, IL 60680

                 AMERICAN EDUCATION SERVICES
                 PAYMENT CENTER
                 HARRISBURG, PA 17130-0001

                 AMERICAN HEALTH RESOURCES INC
                 130 LIBERTY ST
                 SUITE 13A
                 BROCKTON, MA 02301

                 American Healthcare Benefits
                 PO Box 22009
                 Tempe, AZ 85285

                 AMERICAN HOSPITAL ASSOCIATION
                 P O BOX 92247
                 CHICAGO, IL 60675-2247

                 AMERICAN HOSPITAL DIRECTORY
                 166 THIERMAN LANE
                 LOUISVILLE, KY 40207

                 AMERICAN HOTEL REGISTER CO
                 HEALTH CARE SUPPLY
                 PO BOX 206720
                 DALLAS, TX 75320-6720

                 AMERICAN IV PRODUCTS INC
                 7485 SHIPLEY AVE
                 HANOVER, MD 21076-3110

                 AMERICAN MEDICAL ASSOCIATION
                 MEMBER RELATIONS
                 330 NORTH WABASH AVENUE
                 CHICAGO, IL 60611-5885
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                 AMERICAN MEDICAL ASSOCIATION
                 PO BOX 74008935
                 CHICAGO, IL 60674-8935

                 AMERICAN PROFICIENCY INSTITUTE
                 DEPT 9526
                 PO BOX 30516
                 LANSING, MI 48909-8016

                 AMERICAN PROGRESSIVE
                 BOX 130
                 PENSACOLA, FL 32591

                 AMERICAN QUALITY FOODS
                 PO BOX 519
                 ARDEN, NC 28704

                 AMERICAN RED CROSS
                 PO BOX 33093
                 NEWARK, NJ 07188-0093

                 AMHERST COMPUTER PRODUCTS
                 PO BOX 200220
                 DALLAS, TX 75320-0220

                 AMO SALES AND SERVICE INC
                 PO BOX 74007099
                 CHICAGO, IL 60674-7099

                 AMPERSAND BROCKWAY MILLS HYDRO
                 717 ATLANTIC AVENUE, SUITE 1A
                 BOSTON, MA 02111

                 AMPRONIX
                 15 WHATLEY
                 IRVINE, CA 92618

                 Amtrust
                 PO Box 31330
                 Cleveland, OH 44131

                 Amtrust North Amercia
                 59 Maiden Lane
                 New York, NY 10038

                 AMTRUST NORTH AMERICA
                 PO BOX 6935
                 CLEVELAND, OH 44101-6935

                 ANDRE ROBERTS
                 51 WOODSTOCK AVE
                 APT 4
                 RUTLAND, VT 05701
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                 ANFP
                 406 SURREY WOODS DR
                 ST CHARLES, IL 60174

                 ANGIE CLARK


                 ANN AINSWORTH
                 27 LOWER PARKER HILL RD
                 SPRINGFIELD, VT 05156

                 ANN BARTLETT
                 PO BOX H
                 MARLBORO, VT 05344

                 ANNA MCCLYMAN
                 109 BALTIMORE RD
                 WEATHERSFIELD, VT 05151

                 Anthem Medicare HCFA
                 PO Box 533
                 North Haven, CT 06473

                 Anthem Medicare Preferred PPO
                 PO Box 60007
                 Los Angeles, CA 90080-0007

                 ANTHONY FAZZONNE
                 111 RICHARDSON STREET
                 BURLINGTON, VT 05401

                 AP TECHNOLOGY LL
                 5973 AVENIDA ENCINAS STE 140
                 CARLSBAD, CA 92008

                 APPLIED MEDICAL
                 PO BOX 3511
                 CAROL STREAM, IL 60132-3511

                 APWU Health Plan
                 Po Box 1358
                 Glen Burnie, MD 21060

                 AQUA AID SYSTEM INC
                 631 ROUTE 12 NORTH
                 KEENE, NH 03431-8012

                 ARAMARK
                 AUS SMALL BUSINESS LOCKBOX
                 22512 NETWORK PLACE
                 CHICAGO, IL 60673-1225

                 ARC MECHANICAL CONTRACTORS
                 PO BOX 724
                 BRADFORD, VT 05033-0724
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                 ARLIE WELCH
                 2 ROBINWOOD LN
                 RUTLAND, VT 05701

                 ARROW INTERNATIONAL INC
                 PO BOX 60519
                 CHARLOTTE, NC 28260-0519

                 ARTHREX INC
                 PO BOX 403511
                 ATLANTA, GA 30384-3511

                 ASCUTNEY MOUNTAIN RESORT
                 PO BOX 699
                 BROWNSVILLE, VT 05037

                 ASHHRA
                 PO BOX 75315
                 CHICAGO, IL 60675-5315

                 ASHLEY BIELARSKI
                 19 LANGSETH AVE
                 CLAREMONT, NH 03743

                 ASHP
                 4500 EAST WEST HIGHWAY
                 SUITE 900
                 BETHESDA, MD 20814

                 ASIAN SILK & SILVER
                 SALLY CLARK
                 PO BOX 1082
                 MORRISVILLE, VT 05661

                 ASSOCIATED BAG COMPANY
                 PO BOX 8820
                 CAROL STREAM, IL 60197-8820

                 ASSURANT
                 PO BOX 91604
                 LUBBOCK, TX 79490-1604

                 AT&T
                 PO BOX 105068
                 ATLANTA, GA 03484-5068

                 AT&T MOBILITY
                 PO BOX 536216
                 ATLANTA, GA 30353-6216

                 AT&T MOBILITY
                 PO BOX 6463
                 CAROL STREAM, IL 60197-6463
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                 ATC GROUP SERVICES, LLC
                 DEPT #2630
                 PO BOX 11407
                 BIRMINGHAM, AL 35246-2630

                 ATHENS PIZZA
                 83 WESTMINSTER ST
                 BELLOWS FALLS, VT 05101

                 ATLANTIC ADMINISTRATION
                 135 BEAVER STREET
                 WALTHAM, MA 02154-8424

                 ATLANTIC NUCLEAR
                 100 WEYMOUTH ST
                 UNIT E1
                 ROCKLAND, MA 02370

                 AUDIOLOGY SYSTEMS INC
                 DEPT CH 16948
                 PALATINE, IL 60055-6948

                 AUREUS RADIOLOGY LLC
                 C&A INDUSTRIES INC
                 P O BOX 3037
                 OMAHA, NE 68103-0037

                 AYA HEALTHCARE INC
                 DEPT 3519
                 PO BOX 123519
                 DALLAS, TX 75312-3519

                 BAG ALI
                 HANDBAGS & ACCESSORIES
                 PO BOX 163
                 LINCOLN, MA 01773

                 Bank of New York Mellon
                 201 Washington Street
                 Suite 024-0062
                 BOSTON, MA 02108

                 BANKERS LIFE & CASUALTY
                 BOX 1935
                 CARMEL, IN 46082-1937

                 BANKERS LIFE PHYSICIAN REHAB
                 BOX 1937
                 CARMEL, IN 46082-1937

                 BANKERS TRUST
                 RETIREMENT PLAN SERVICES
                 453 SEVENTH STREET
                 DES MOINES, IA 50304-0898
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                 BARBARA FIEDLER
                 205 BRITTON RD
                 CLAREMONT, NH 03743

                 BARBARA LORD
                 33 MT VERNON ST
                 SPRINGFIELD, VT 05156

                 BARBARA MCALLISTER
                 dba MOBIL MAID SERVICE
                 71 CANAL ST
                 CHESTER, VT 05143

                 BARCLAY WATER MANAGEMENT INC
                 55 CHAPEL ST
                 NEWTON, MA 02458

                 BARRIER FREE LIFTS INC
                 1620 SW 17TH ST
                 OCALA, FL 34471

                 BAXTER HEALTHCARE CORP
                 PO BOX 33037
                 NEWARK, NJ 07188

                 BAYER HEALTHCARE
                 PO BOX 360172
                 PITTSBURGH, PA 15251-6172

                 BCBS
                 PO BOX 186
                 MONTPLIER, VT 05601

                 BEACON HEALTH SERVICES           PSYCH
                 PO BOX 1866
                 HICKSVILLE, NY 11802-1866

                 BEACONMEADES, LLC
                 DEPT 3234
                 PO BOX 123234
                 DALLAS, TX 75312-3234

                 BECKMAN COULTER, INC
                 250 S. KRAEMER BLVD
                 BREA, CA 92821

                 BECTON, DICKINSON AND COMPANY
                 PO BOX 28983
                 NEW YORK, NY 10087-8983

                 BEEKLEY CORPORATION
                 PRESTIGE LANE
                 BRISTOL, CT 06010
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                 BENTEC MEDICAL
                 1380 E. BEAMER STREET
                 WOODLAND, CA 95776

                 BERKELEY MEDEVICES INC
                 1330 SOUTH 51ST ST
                 RICHMOND, CA 94804-4628

                 Berkley Risk Associates
                 PO Box 59143
                 Minneapolis, MN 55459

                 Berkley Specialty Underwriting
                 PO Box 141299
                 Irving, TX 75014-1299

                 BerkleyNet
                 PO Box 26002
                 Daphne, AL 36526

                 Berkshire Bank
                 24 North Street
                 P.O. Box 1308
                 PITTSFIELD, MA 01202

                 BERKSHIRE BANK
                 ATTN: LESLIE LEVER
                 152 MAIN ST
                 LUDLOW, VT 05749

                 BERRY DUNN
                 1000 ELM STREET 15TH FLOOR
                 MANCHESTER, NH 03101-1730

                 BERRY DUNN
                 PO BOX 1100
                 100 MIDDLE STREET
                 PORTLAND, ME 04104-9862

                 BEST SEPTIC SERVICE LLC
                 7752 US ROUTE 5 SUITE 3
                 WESTMINSTER, VT 05158

                 BETTE CHANNING
                 PO BOX 3538
                 SOUTH DEEFIELD, MA 01373-3538

                 BIBENS
                 PO BOX 381
                 NO SPRINGFIELD, VT 05150

                 BIMBO FOODS INC
                 PO BOX 827810
                 PHILADELPHIA, PA 19182-7810
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                 BIO RAD LABORATORIES INC
                 P O BOX 849740
                 LOS ANGELES, CA 90084-9740

                 BIOMERIEUX INC
                 PO BOX 500308
                 ST LOUIS, MO 63150-0308

                 BIOMET INC
                 75 REMITTANCE DR STE 3283
                 CHICAGO, IL 60675-3283

                 BIOSCRIP INC
                 P O BOX 418782
                 BOSTON, MA 02241-8782

                 BLACK BOX CORPORATION OF PENN
                 PO BOX 775137
                 CHICAGO, IL 60677-5317

                 BLACK RIVER PRODUCE
                 PO BOX 489
                 N SPRINGFIELD, VT 05150

                 BLACK ROCK STEAKHOUSE
                 C/O SHANNON HOLL
                 28 MONUMENT HILL RD
                 SPRINGFIELD, VT 05156

                 BLACKBAUD
                 PO BOX 930256
                 ATLANTA, GA 31193-0256

                 BLUE CHOICE NH
                 BOX 533
                 NORTH HAVEN, CT 06473-0533

                 BLUE CROSS VT
                 BOX 186
                 MONTPELIER, VT 05601

                 BLUEWATER EMERGENCY PARTNERS
                 14 MAINE STREET
                 BOX 44
                 BRUNSWICK, ME 04011

                 BNI PUBLICATIONS INC
                 900 PARK CENTER DR
                 STE E
                 VISTA, CA 92081

                 BONE BANK ALLOGRAFTS
                 PO BOX 205609
                 DALLAS, TX 75320-5609
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                 BONNIE BLAIR
                 73 BLAIR HILL ROAD
                 CHARLESTOWN, NH 03603

                 BOSTON SCIENTIFIC CORPORATION
                 PO BOX 8500-6205
                 PHILADELPHIA, PA 19178-6205

                 BOUCHER TEMPERATURE CONTROL CO
                 981 DECKER RD
                 MILTON, VT 05468

                 BOUND TREE MEDICAL LLC
                 23537 NETWORK PLACE
                 CHICAGO, IL 60673-1235

                 BRACCO DIAGNOSTICS INC
                 PO BOX 978952
                 DALLAS, TX 75397-8952

                 BRATTLEBORO MEMORIAL HOSPITAL
                 17 BELMONT AVE
                 ATTN: PHARMACY DEPT
                 BRATTLEBORO, VT 05301

                 BRATTLEBORO REFORMER
                 NEW ENGLAND NEWSPAPER
                 PO BOX 1171
                 PITTSFIELD, MA 01201

                 BREG INC
                 PO BOX 849991
                 DALLAS, TX 75284-9991

                 BREINNA JONES
                 51 HALL BRIDGE ROAD
                 BELLOWS FALLS, VT 05101

                 BRICCETTI LICSW ANNE
                 PO BOX 86
                 PUTNEY, VT 05346

                 BRIGGS HEALTHCARE
                 4900 UNIVERSITY AVE, STE 200
                 WEST DES MOINES, IA 50266

                 BRISTOL MYERS SQUIBB CO
                 PO BOX 5250
                 PRINCETON, NJ 08543-5250

                 BRITTANIE FOWLER
                 103 UNION STREET
                 SPRINGFIELD, VT 05156
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                 Broadspire
                 PO Box 5065
                 Atlanta, GA 30302

                 Broadspire
                 PO Box 14133
                 Lexington, KY 40512-4133

                 BROADSPIRE
                 PO BOX 14645
                 LEXINGTON, KY 40512-4645

                 BULBMAN
                 PO BOX 12280
                 RENO, NV 89510-2280

                 BUSINESSCARD SERVICES
                 PO BOX 1044
                 BRATTLEBORO, VT 05302-1044

                 CADMET INC
                 PO BOX 24
                 MALVERN, PA 19355

                 CAMERON CUNNINGHAM
                 266 BUTTERNUT ROAD
                 WHITE RIVER JUNCTION, VT 05001

                 Cannon Financial Services, Inc.
                 158 Gaither Drive
                 Suit 200
                 Mt. Laurel, NJ 08054

                 CANON FINANCIAL SERVICES, INC
                 14904 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693-0149

                 CANON MEDICAL FINANCE USA
                 PO BOX 41602
                 PHILADELPHIA, PA 19101-1602

                 CANON MEDICAL SYSTEMS USA, INC
                 PO BOX 775220
                 CHICAGO, IL 60677

                 CANON SOLUTIONS AMERICA, INC
                 15004 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693-0150

                 CARDINAL HEALTH 108 INC
                 14265 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693
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                 CARDINAL MEDICAL PHYSICS SERV
                 32 MAIN ST STE 206
                 MONTPELIER, VT 05602

                 CARDIO MEDICAL PRODUCTS INC
                 ATTN: ACCOUNTS RECEIVABLE
                 385 FRANKLIN AVE STE L
                 ROCKAWAY, NJ 07866

                 CAREFUSION SOLUTIONS LLC
                 25082 NETWORK PLACE
                 CHICAGO, IL 60673-1250

                 Caremed Claims
                 9 West Broad Street
                 Stanford, CT 06902

                 CareMed Claims CISI Claims Dept
                 1 High Ridge Park
                 Stamford, CT 06905

                 CARIE KELLY
                 278 THRASHER RD
                 CLAREMONT, NH 03743

                 CARY STRATFORD
                 MURPHY HILL RD
                 ALSTEAD, NH 03602

                 CASELLA WASTE SERVICES
                 PO BOX 1372
                 WILLISTON, VT 05495-1375

                 CASTLETON UNIVERSITY
                 ATN:CONFERENCE & EVENTS
                 338 SOUTH ST
                 CASTLETON, VT 05735

                 CATHERINE KUGLER
                 P O BOX 1045
                 CHARLESTOWN, NH 03603

                 CAVOLI'S GRINDING SERVICE INC
                 1921 BROADWAY
                 SCHENECTADY, NY 12306

                 CBA Blue
                 PO Box 2365
                 South Burlington, VT 05407

                 CDPHP
                 500 Patroon Creek Blvd
                 Albany, NY 12206-1057
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                 CE INTERNATIONAL
                 PO BOX 600173
                 DALLAS, TX 75360

                 CEDAR HILL HEALTH CARE CORPORATION
                 49 CEDAR HILL DR
                 WINDSOR, VT 05089-9470

                 CENATE DARLTON
                 677 SKITCHAWAUG TRAIL
                 SPRINGFIELD, VT 05156

                 Centers for Medicare and Medicaid Servic
                 JFK Federal Building, Suite 2325
                 Boston, MA 02203-0003

                 Centers for Medicare and Medicaid Servic
                 11 Elmwood Ave., 3rd Fl.
                 P.O. Box 570
                 Burlington, VT 05402-0570

                 CENTRAL VERMONT COMMUNICATIONS
                 13 US ROUTE 4, STE 5
                 RUTLAND, VT 05701-6638

                 Centurion of VT
                 PO Box 4090
                 Farmington, MO 63640-4198

                 CERNER HEALTH SERVICE, INC
                 51 VALLEY STREAM PARKWAY
                 MALVERN, PA 19355

                 CERTIPHI SCREENING INC
                 PO BOX 1675
                 SOUTHAMPTON, PA 18966

                 CHAMPVA
                 BOX 65024
                 DENVER, CO 80246-9024

                 CHAMPVA
                 PO BOX 469064
                 DENVER, CO 80246-9064

                 CHANGE HEALTHCARE
                 22423 NETWORK PL
                 CHICAGO, IL 60673-1224

                 CHANTEL BAKER
                 910 CENTERVILLE ROAD
                 E. WALLINGFORD, VT 05742
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                 CHARLENE LAGUERRE
                 57 FOWLER AVE
                 JOHNSON CITY, NY 13790

                 CHARLES HOWARD


                 CHARLESTOWN SENIOR CENTER
                 PO BOX 1333
                 SILVERTONES
                 CHARLESTOWN, NH 03603

                 CHARTIS / AIG
                 PO BOX 1821
                 ALPHARETTA, GA 30023-1822

                 CHECKMATE
                 287 SOUTH MAIN ST
                 CONCORD, NH 03301

                 CHEK MED SYSTEMS INC
                 200 GRANDVIEW AVE
                 CAMP HILL, PA 17011-1706

                 CHESHIRE MEDICAL CENTER
                 580 COURT ST
                 KEENE, NH 03431

                 CHESTER HARDWARE
                 21 MAIN STREET
                 CHESTER, VT 05143

                 CHOICE PLUS OF NEW ENGLAND
                 BOX 6581
                 SYRACUSE, NY 13217-6589

                 CHRISTINA BATES
                 13 WINTER STREET
                 APT 2
                 CLAREMONT, NH 03743

                 CHRISTINA COBB
                 672 AMSDEN HILL RD
                 CHESTER, VT 05143

                 CHRISTINE GRUNEWALS


                 CHRISTOPHER CHINN
                 12 PEABODY ST
                 LEBANON, NH 03766

                 CHRISTOPHER RYDER
                 15 WELLINGTON CIRCLE
                 LEBANON, NH 03766
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                 CHRISTOPHER TOMBERG
                 268 N RUNWAY RD
                 PERKINSVILLE, VT 05151

                 Chubb
                 565 Long Ward Drive
                 New Haven, CT 06511

                 CHUBB
                 DEPT 14089
                 PALATINE, IL 60055-4089

                 Chubb Group of Ins
                 55 Water Street
                 New York, NY 10041-2899

                 Chubb Insurance
                 PO Box 4700
                 Chesapeake, VA 23327

                 Chubb Services Corporation
                 2000 West Park Drive, Suite 200
                 WESTBOROUGH, MA 01581

                 Cigna
                 2 Riverview Square
                 East Hartford, CT 06108

                 Cigna
                 PO Box 182223
                 Chattanooga, TN 37422

                 Cigna
                 PO Box 188050
                 Chattanooga, TN 37422-8050

                 Cigna HealthCare APWU
                 PO Box 188004
                 Chattanooga, TN 37422

                 CIGNA PHYSICIAN REHAB
                 PO BOX 182223
                 CHATTANOOGA, TN 37422-7223

                 Cincinnati Insurance    CORVEL
                 PO Box 210
                 Spofford, NH 03462

                 CINE MED, INC
                 ATTN: COURSE REGISTRATION
                 127 MAIN STREET NORTH
                 WOODBURY, CT 06798
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                 CINTAS #016
                 PO BOX 630803
                 CINCINNATTI, OH 45263-0803

                 CINTAS CORPORATION
                 97627 EAGLE WAY
                 CHICAGO, IL 60678-7627

                 CLEAN SLATE
                 P O BOX 6457
                 DEPT 293
                 INDIANAPOLIS, IN 46206

                 CLIA LABORATORY PROGRAM
                 PO BOX 530882
                 ATLANTA, GA 30353-0882

                 CLINICAL INNOVATIONS
                 2840 MOMENTUM PLACE
                 CHICAGO, IL 60689-5327

                 CMS COMMUNICATIONS INC
                 PO BOX 790372
                 ST LOUIS, MO 63179-0379

                 CNA Insurance Co
                 PO Box 8317
                 Chicago, IL 60680

                 CNA Insurance Company
                 401 Penn St
                 Reading, PA 19603

                 COFFEE RESERVES OCS
                 117 PERLEY GORDON RD
                 APT #2
                 SPRINGFIELD, VT 05156-9399

                 COLLECTIVE GOODS
                 ATTN : A/R
                 282 CENTURY PLACE SUITE 2000
                 LOUISVILLE, CO 80027

                 COLLEGE OF AMERICAN PATHOLOGIS
                 PO BOX 71698
                 CHICAGO, IL 60694-1698

                 COLLIN PHINNEY
                 105 BUGBEE RD
                 SPRINGFIELD, VT 05156

                 Colonial Group International
                 PO Box 11519
                 Scottsdale, AZ 85271-1519
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                 Colonial Life & Accident
                 PO Box 1365
                 Columbia, SC 29202

                 Colonial Medical Insurance
                 PO Box 981619
                 El Paso, TX 79998-1619

                 Colonial Penn Health Ins.
                 399 Market Street
                 Philadelphia, PA 19181

                 Colonial Penn Insurance
                 Po Box 1993
                 Velley Forge, PA 19482-1993

                 Colonial Penn Insurance
                 PO Box 1935
                 Carmel, IN 46082-1935

                 Colonial Supplemental Ins
                 PO Box 100195
                 Columbia, SC 29202

                 Combined
                 PO Box 14207
                 Clearwater, FL 33746-4207

                 Combined Insurance
                 PO Box 16380
                 Clearwater, FL 33766

                 COMBINED INSURANCE COMPANY
                 PO BOX 981625
                 EL PASO, TX 79998-1625

                 COMCAST
                 PO BOX 1577
                 NEWARK, NJ 07101-0196

                 Commercial Travelers
                 70 Genesee Street
                 Utica, NY 13502

                 Commonwealth of Virgina
                 PO Box 537
                 Richmond, VA 23204-0537

                 Community Bank
                 275 Kennedy Drive
                 South Burlington, VT 05403

                 COMMUNITY HEALTH OPTIONS
                 PO BOX 1121
                 LEWISTON, ME 45341-1121
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                 COMPHEALTH ASSOCIATES, INC
                 PO BOX 972625
                 DALLAS, TX 75397-2625

                 COMPHEALTH MEDICAL STAFFING
                 PO BOX 972651
                 DALLAS, TX 75397-2651

                 COMPREHENSIVE BENEFIT ADMIN
                 BOX 2365
                 SO BURLINGTON, VT 05407-2365

                 COMSTOCK CARLTON
                 466 BROOK RD
                 SPRINGFIELD, VT 05156

                 CONE INSTRUMENTS LLC
                 DEPT 2465
                 PO BOX 11407
                 BIRMINGHAM, AL 35246-2465

                 CONMED CORP
                 CHURCH STREET STATION
                 PO BOX 6814
                 NEW YORK, NY 10249-6814

                 CONNECTICARE
                 PO BOX 546
                 FARMINGTON, CT 06034-0046

                 CONNECTION FINANCIAL SERVICES
                 1310 MADRID ST
                 SUITE 101
                 MARSHALL, MN 56258-4002

                 CONSOLIDATED HEALTH
                 2007 ROOSEVELT AVE
                 SPRINGFIELD, MA 01104-3503

                 Continental General Life
                 PO Box 29136
                 Shawnee Mission, KS 66201

                 Continental Life
                 PO Box 680579
                 Franklin, TN 37068-0579

                 CONTROL TECHNOLOGIES
                 121 PARK AVE SUITE 20
                 WILLISTON, VT 05495

                 COOK MEDICAL, LLC
                 22988 NETWORK PLACE
                 CHICAGO, IL 60673-1229
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                 COOPER SURGICAL INC
                 PO BOX 712280
                 CINCINNATI, OH 45271-2280

                 CORE MEDICAL GROUP
                 ACCOUNTS RECEIVABLE
                 3000 GOFFS FALLS RD
                 MANCHESTER, NH 03103

                 CORESOURSE
                 PO BOX 188061
                 CHATTANOOGA, TN 37422-8061

                 CORFLEX
                 669 EAST INDUSTRIAL PARK DR
                 MANCHESTER, NH 03109

                 CORRECTIONAL MEDICAL SERVICES
                 BOX 411243
                 ST LOUIS, MO 63141

                 Corvel
                 PO Box 6966
                 Portland, OR 97228

                 COSTFLEX SYSTEMS, INC.
                 P O BOX 91089
                 MOBILE, AL 36691

                 COTA & COTA INC
                 4 GREEN ST
                 BELLOWS FALLS, VT 05101

                 COTA KATHLEEN
                 96 OLIVE ST
                 SPRINGFIELD, VT 05156

                 COUNCIL FOR AFFORDABLE QUALITY
                 HEALTHCARE INC
                 PO BOX 759192
                 BALTIMORE, MD 21275-9192

                 COVERYS
                 PO BOX 981024
                 BOSTON, MA 02298-1024

                 CPI
                 10850 W PARK PLACE
                 STE 600
                 MILWAUKEE, WI 53224

                 CPS TELEPHARMACY, INC
                 PO BOX 638318
                 CINCINNATI, OH 45263-8318
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                 CR BARD INC
                 PO BOX 75767
                 CHARLOTTE, NC 28275

                 CRAIG HOFSESS
                 256 TENNEY ROAD
                 SPRINGFIELD, VT 05156

                 CREST HEALTHCARE SUPPLY
                 PO BOX 727
                 DASSEL, MN 55325-0727

                 CROTHALL HEALTHCARE
                 13028 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693

                 CROWN POINT EXCAVATION LLC
                 PO BOX 656
                 CHESTER, VT 05143

                 CROWN POINT PHYSICAL THERAPY
                 ASSOCIATES, PC
                 43 SCHOOL STREET
                 NORTH SPRINGFIELD, VT 05156

                 Crum & Forester
                 PO Box 1973
                 Morristown, NJ 07962

                 Crum and Forster
                 PO Box 14801
                 Lexington, KY 40512

                 CUNNINGHAM LINDSEY
                 139 NEWBURY ST SUITE 1
                 FRAMINGHAM, MA 01701

                 CUSTOM MEDICAL SPECIALTIES INC
                 PO BOX 177
                 PINE LEVEL, NC 27568

                 DANIELLE DENOFRIO
                 352 HILLCREST DRIVE
                 ANDOVER, VT 05143

                 DANIELLE DUMONT
                 P O BOX 13
                 CHESTER, VT 05143

                 DANIELLE WRIGHT
                 51 PLEASANT STREET
                 SPRINGFIELD, VT 05156
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                 DARTMOUTH HITCHCOCK
                 PO BOX 419114
                 BOSTON, MA 02241-9114

                 DARTMOUTH HITCHCOCK
                 MARY HITCHCOCK MEMORIAL HOSPITAL
                 ATTN: TREASURY DEPT, COLBURN HILL
                 LEBANON, NH 03756

                 DARTMOUTH HITCHCOCK
                 ATTN: TREASURY DEPT - CBH
                 ONE MEDICAL CENTER DR
                 LEBANON, NH 03766

                 DATAWATCH CORP
                 BOX 83428
                 WOBURN, MA 01813-3428

                 DATCARD
                 7 GOODYEAR
                 IRVINE, CA 92618

                 DATEX OHMEDA
                 PO BOX 641936
                 PITTSBURGH, PA 15264-1936

                 DAVID MULLER
                 38 OWL CREEK LANE
                 NORWICH, VT 05055

                 DAVID NELSON
                 506 CARLEY RD
                 SPRINGFIELD, VT 05156

                 DAVID RAMSEY
                 22 OLD DEERFIELD RD
                 CANDIA, NH 03034

                 DAYS ENTERPRISES LLC
                 40 PEARL ST
                 SPRINGFIELD, VT 05156

                 DEANNA MERRILL
                 150 WESTMINSTER STREET
                 BELLOWS FALLS, VT 05101

                 DEBORAH PUCKHABER
                 182 COLES LEDGE RD
                 BARNSTEAD, NH 03218

                 DEBORAH SYKES
                 3 MEADOW DRIVE
                 SPRINGFIELD, VT 05156
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                 DELAWARE CITIBANK
                 One Penn's Way
                 New Castle, VT 19720-2408

                 DELPHI SOLUTIONS
                 7550 BIRCHMOUNT RD
                 VT 05819

                 DELTA LOCUM TENENS
                 P O BOX 202940
                 DALLAS, TX 75320-2940

                 DEPOT HOME CENTER
                 PO BOX 390
                 CHARLESTOWN, NH 03603

                 DEPT OF HOMELAND SECURITY
                 100 Interstate Corporate Center
                 Williston, VT 05495

                 DEPUY SYNTHES SALES, INC
                 PO BOX 406663
                 ATLANTA, GA 30384-6663

                 DEROYAL INDUSTRIES INC
                 PO BOX 415000
                 NASHVILLE, TN 37241-0316

                 DESIGNLAB
                 135 PENOBSCOT AVE
                 MILLINOCKET, ME 04462

                 DEVEREUX SHANNON
                 1141 TARBELL HILL RD
                 CAVENDISH, VT 05142

                 DEX YP
                 ATTN: ACCT RECEIVABLE DEPT
                 PO BOX 619009
                 DFW AIRPORT, TX 75261-9009

                 DEXCOM INC
                 ATTN: ACCOUNTS RECEIVABLE
                 PO BOX 748652
                 LOS ANGELES, CA 90074-8652

                 DFL ENTERPRISES INC
                 124 PINE OAK DR
                 COVINGTON, LA 70433

                 DIANA GETTY
                 191 SOUTH ST
                 SPRINGFIELD, VT 05156
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                 DICKSON
                 930 SOUTH WESTWOOD AVE
                 ADDISON, IL 60101-4917

                 DISABILITY DETERMINATION AGENCY
                 103 SOUTH MAIN ST
                 WATERBURY COMPLEX
                 WATERBURY, VT 05676

                 DISABILITY DETERMINATION AGENCY
                 93 PILGRIM PARK RD SUITE6
                 WATERBURY, VT 05676

                 DJ ORTHOPEDICS LLC
                 PO BOX 650777
                 DALLAS, TX 75265-0777

                 DJ'S RESTAURANT
                 146 MAIN ST
                 LUDLOW, VT 05149

                 DME Regional Carrier A
                 PO Box 9165
                 Hingham, MA 02043-9165

                 DOE NAVIENT
                 PO BOX 740351
                 ATLANTA, GA 30374

                 DONNA BANE
                 166 SMITH RD
                 LUDLOW, VT 05149

                 DOWNS RACHLIN MARTIN PLLC
                 PO BOX 99
                 ST JOHNSBURY, VT 05819-0099

                 DUTCH OPHTHALMIC USA
                 10 CONTINENTAL DR BUILDING 1
                 EXETER, NH 03833

                 DXC TECHNOLOGY
                 PO BOX 1645
                 WILLISTON, VT 05495-1645

                 EAGLE PRINTING & PUBLISHING LL
                 45 CRESCENT ST
                 CLAREMONT, NH 03743

                 EASYPERMIT POSTAGE
                 PO BOX 371874
                 PITTSBURGH, PA 15250-7874
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                 EB KINNEY JR AND SON
                 3539 ROUTE 44
                 BROWNSVILLE, VT 05037

                 ECOLAB FOOD SAFETY SPECIALTIES
                 24198 NETWORK PLACE
                 CHICAGO, IL 60673-1241

                 ED HOUGH'S EXCAVATION
                 98 FAIRVIEW AVENUE
                 RUTLAND, VT 05701

                 EDGE PHARMACY SERVICES LLC
                 856 HERCULES DR, STE 30
                 COLCHESTER, VT 05446

                 EDWARD BROWNING
                 2501 SOUTH HIGH ST
                 KIRKSVILLE, MO 63501

                 EDWARDS LIFESCIENCES LLC
                 23146 NETWORK PLACE
                 CHICAGO, IL 60673-1231

                 EGGLESTON EMILY
                 17 PLEASEANT ST
                 WALPOLE, NH 03608

                 EJS TESTING & SERVICE CO INC
                 PO BOX 351
                 DOUGLAS, MA 01516

                 ELECTRO MEDICAL EQUIPMENT
                 38054 REULET OAKS DRIVE
                 PRAIRIEVILLE, LA 70769

                 EMANUEL SINGLETON
                 155 E 280TH STREET
                 EUCLID, OH 44132

                 EMD MILLIPORE CORPORATION
                 25760 NETWORK PLACE
                 CHIGAGO, IL 60673

                 EMERGENCY SERVICES OF NE INC
                 C/O DEB EPLER
                 P O BOX 12
                 CHESTER, VT 05143

                 EMILY KENNEDY
                 9 WOODBURY ST
                 KEENE, NH 03431
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                 EMMA GRAVES
                 297 COLD RIVER ROAD
                 WALPOLE, NH 03608

                 EMPLOYEE BENEFIT PLAN ADMIN
                 BOX 2000
                 EXETER, NH 03833

                 ENGINEERING VENTURES PC
                 208 FLYNN AVE STE 2A
                 BURLINGTON, VT 05401

                 ENOVATE MEDICAL, LLC
                 1152 PARK AVE
                 MURFREESBORO, TN 37129

                 EPS INC
                 LOCK BOX 427
                 JAMISON, PA 18929-0427

                 Esis
                 PO Box 6561
                 Scranton, PA 1850-56561

                 ESIS
                 PO BOX 6561
                 SCRANTON, PA 18505-6561

                 ESIS Windsor Office
                 PO Box 6566
                 Scanton, PA 18505

                 ESPY SERVICES INC
                 2213 16TH STREET
                 BEDFORD, IN 47421

                 ETERNITY WEB
                 182 MAIN STREET
                 STUDIO 3
                 BURLINGTON, VT 05401

                 Everence
                 PO Box 483
                 Goshen, IN 46527

                 EVIDENT
                 PO BOX 850309
                 MOBILE, AL 36685-0309

                 EVOLVE TECHNOLOGIES CORP
                 7 INDUSTRIAL WAY
                 SALEM, NH 03079
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                 EZ GRAPH OF VICTORIA INC
                 207 WOODRIDGE
                 VICTORIA, TX 77904

                 FACILITY ONE TECHNOLOGIES LLC
                 730 WEST MAIN ST STE 2W
                 LOUISVILLE, KY 40202

                 FALLON HEALTH AND LIFE
                 PO BOX 15207
                 WORCESTER, MA 01615-0207

                 FASTENAL COMPANY
                 PO BOX 1286
                 WINONA, MN 55987-1286

                 FDA MQSA PROGRAM
                 PO BOX 979109
                 ST LOUIS, MO 63197-9000

                 FED LOAN SERVICING
                 P O BOX 69184
                 HARRISBURG, PA 17106-9184

                 FEDEX
                 PO BOX 371461
                 PITTSBURGH, PA 15250-7461

                 FENWAL INC
                 3 CORPORATE DRIVE
                 LAKE ZURICH, IL 60073

                 Fidelis Care
                 PO Box 724
                 Amherst, NY 14226-0724

                 Fidelis Care Claim Department
                 PO Box 898
                 Angerst, NY 14226-0898

                 FIDELIS CARE INSURANCE
                 PO BOX 905
                 AMHERST, NY 14226-0905

                 FIDELIS PARTNERS
                 27261 LAS RAMBLAS SUITE 250
                 MISSION VIEJO, CA 92691

                 FIRST CALL MEDICAL INC
                 28 ANDOVER ST SUITE 200
                 ANDOVER, MA 01810

                 FIRST HEALTH
                 BOX 23809
                 TUCSON, AZ 85734
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                 FISHER & PAYKEL HEALTHCARE INC
                 DEPT CH 16926
                 PALATINE, IL 60055-6926

                 FISHER SCIENTIFIC CO LLC
                 ATTN: 773545-001
                 PO BOX 3648
                 BOSTON, MA 02241-3648

                 FLOORMASTER CONCRETE DESIGN LL
                 P O BOX 1412
                 RUTLAND, VT 05702

                 FLORIDA STATE DISBURSEMENT UNI
                 P.O. BOX 8500
                 TALLAHASSEE, FL 32314-8500

                 FOLEY DISTRIBUTING CORP
                 PO BOX 99
                 RUTLAND, VT 05072-0099

                 FOLLETT CORPORATION
                 PO BOX 782806
                 PHILADELPHIA, PA 19178-2806

                 FORTIS INSURANCE CO
                 BOX 624
                 MILWAUKEE, WI 53203

                 FRANKLIN COUNTY AUTO PARTS
                 18 DEERFIELD ST
                 GREENFIELD, MA 01301

                 FULLERTON INN
                 PO BOX 968
                 CHESTER, VT 05143

                 FW WEBB COMPANY
                 160 MIDDLESEX TURNPIKE
                 BEDFORD, MA 01730

                 GAIL FERGUSON
                 220 SPENCER HOLLOW RD
                 SPRINGFIELD, VT 05156

                 GALLAGHER BASSETT
                 PO BOX 2831
                 CLINTON, IA 52733-2381

                 GALLAGHER BENEFIT SERVICES INC
                 ATTN: GBS FINANCE
                 2850 GOLF ROAD
                 ROLLING MEADOWS, IL 60008
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                 GALVESTON MEDICAL
                 MANUFACTURING
                 1302 WAUGH DRIVE #446
                 HOUSTON, TX 77019

                 GE HEALTHCARE
                 PO BOX 96483
                 CHICAGO, IL 60693

                 GE HEALTHCARE
                 PO BOX 640200
                 PITTSBURGH, PA 15264-0200

                 GEHA
                 PO Box 4665
                 Independence, MO 64051-4665

                 GEHA    ASA
                 PO Box 981707
                 El Paso, TX 79998-1707

                 GEIGER INC
                 PO BOX 712144
                 CINCINNATI, OH 45271-2144

                 GELSY YOUNG
                 810 OLD ATHENS RD
                 PUTNEY, VT 05346-9216

                 GEMMA PENTLAND
                 199 HOLLAND HILL
                 PUTNEY, VT 05346

                 General Electric Capital Corporation
                 P.O. Box 414, W490
                 Milwaukee, WI 53201

                 GENESIS REHABILITATION SERVIC
                 PO BOX 821322
                 PHILIDELPHIA, PA 19182-1322

                 GEOFFREY ILLINGWORTH
                 36 ADAMS ST
                 WESTMINSTER, VT 05158

                 GEORGE LESZNIK
                 788 ELM ST
                 FLORENCE, VT 05744-9755

                 GERALD DRABYN
                 364 HOUGHTONVILLE RD
                 GRAFTON, VT 05146
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                 GETINGE USA SALES LLC
                 PO BOX 775436
                 CHICAGO, IL 60677-5436

                 GF HEALTH PRODUCTS, INC
                 PO BOX 475410
                 DORAVILLE, GA 30362-0510

                 GHI
                 PO Box 3000
                 New York, NY 10116-3000

                 GIFFORD MEDICAL CENTER
                 ACCOUNTING DEPT
                 PO BOX 2000
                 RANDOLPH, VT 05060

                 GILL ODD FELLOWS HOME
                 8 GILL TERRACE
                 LUDLOW, VT 05149

                 GISC/HCVM
                 BOX 199051
                 CHATTANOOGA, TN 37422-8061

                 GLAXOSMITHKLINE PHARMACEUTICAL
                 PO BOX 740415
                 ATLANTA, GA 30374-0415

                 GLEN NEALE
                 31 RAMS ROC ROAD
                 ELMORE, VT 05661

                 GLOBAL MEDICAL IMAGING, LLC
                 222 RAMPART STREET
                 CHARLOTTE, NC 28203

                 GMMI Inc
                 880 SW 145th Ave, Suite 40
                 Pembroke Pines, FL 33027

                 GOLDEN CROSS AMBULANCE INC
                 5 LINCOLN HEIGHTS
                 CLAREMONT, NH 03743

                 GOLDEN RULE
                 712 ELEVENTH ST
                 LAWRENCEVILLE, IL 62439-2316

                 GOLDFISH LOCUM TENENS
                 6865 WINDCREST DRIVE
                 SUITE 300
                 PLANO, TX 75024
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                 GONAWEX
                 NW-9418PO BOX 1450
                 MINNEAPOLIS, MN 55485-9418

                 GOODWAY TECHNOLOGIES CORP
                 DEPT 5453 PO BOX 30000
                 HARTFORD, CT 06105

                 GOVERNMENT EMPLOYEE HOSPITAL ASSO
                 BOX 4665
                 INDEPENDENCE, MO 64501-4665

                 GPM
                 PO Box 2679
                 Omaha, NE 68103-2679

                 GRACE COTTAGE HOSPITAL
                 PO BOX 216
                 TOWNSHEND, VT 05353-0216

                 GRAINGER
                 DEPT 829741586
                 PALATINE, IL 60038-0001

                 Granite State Health Plan
                 PO Box 4060
                 Farmington, MO 63640-3831

                 GRAPHIC CONTROLS
                 DBA: VERMED
                 PO BOX 1271
                 BUFFALO, NY 14240-1271

                 GREAT AMERICA FINANCIAL SERV
                 PO BOX 660831
                 DALLAS, TX 75266-0831

                 Great American Insurance
                 PO Box 5432
                 Cincinatti, OH 45201

                 Great American Life Ins Co
                 PO Box 30010
                 Austin, TX 78755-3010

                 GREAT EASTERN RADIO LLC
                 106 NORTH MAIN ST
                 W LEBANON, NH 03784

                 GREAT LAKES
                 US DEPARTMENT OF EDUCATION
                 PO BOX 790321
                 ST LOUIS, MO 63179-0321
Case 19-10283 Doc     1 Filed 06/26/19 Entered    06/26/19 14:19:51
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                 GREAT WEST HEALTH
                 PO BOX 188061
                 CHATTANOOGA, TN 37422-8061

                 GreatAmerica Financial Services Corporat
                 625 First Street
                 Cedar Rapids, IA 52401-2030

                 GREATER FALLS PHARMACY
                 78 ATKINSON ST
                 BELLOWS FALLS, VT 05101

                 GREATER ROCK FITNESS
                 1 HOSPITAL COURT
                 BELLOWS FALLS, VT 05101

                 GREATER ROCKINGHAM AREA SRVS
                 ATTN :MIKE SMITH
                 ONE HOSPITAL COURT
                 BELLOWS FALLS, VT 05101

                 Green Mountain Care Board attn: Kevin Mu
                 144 State Street
                 Montpelier, VT 05602

                 GREEN MOUNTAIN ELECTRIC SUPPLY
                 356 RATHE ROAD
                 COLCHESTER, VT 05446

                 GREEN MOUNTAIN MESSENGER
                 54 ECHO PLACE UNIT 1
                 WILLISTON, VT 05495

                 GREEN MOUNTAIN POWER
                 PO BOX 1611
                 BRATTLEBORO, VT 53020-1611

                 Group Ins Service Center Cigna
                 PO Box 9120
                 MARSHFIELD, MA 02050

                 GUARD INSURANCE
                 BOX 1368
                 WILKES BARRE, PA 18703

                 Guard Insurance Group FOCUS
                 PO Box 1368
                 Wilkes Barre, PA 18703-1368

                 GURNEY BROTHERS CONSTRUCTION
                 GURNEY ROAD
                 N SPRINGFIELD, VT 05150
Case 19-10283 Doc     1 Filed 06/26/19 Entered    06/26/19 14:19:51
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                 GWENDOLYN DURGIN
                 1380 DORSET W RD
                 DORSET, VT 05251

                 HAMILTON PETRILLO PARTNERSHIP
                 4905 FLANDERS AVE
                 KENSINGTON, MD 20895

                 HANNAH KINGSBURY
                 230 PLEASANT ST
                 CHESTER, VT 05143

                 HANOVER SUNAPEE ASSC FOR SPEECH PATHOLO
                 154 STONEY FIELDS RD
                 MANCHESTER CENTER, VT 05255

                 HANOVER INSURANCE CO
                 PO BOX 580045
                 CHARLOTTE, NC 28258-0045

                 Hartford First Health
                 PO Box 14170
                 Lexington, KY 40512

                 HARTNESS HOUSE INN
                 ATTN: JEN JOHNSON
                 30 ORCHARD ST
                 SPRINGFIELD, VT 05156

                 HARVARD MEDICAL SCHOOL
                 POSTGRADUATE MEDICAL EDUCATION
                 PO BOX 417476
                 BOSTON, MA 02241-0746

                 Harvard Pilgrim Health Plans Inc.
                 PO Box 5199
                 WESTBOROUGH, MA 01581

                 Harvard Pilgrim Heathcare
                 1600 Crown Colony Drive
                 QUINCY, MA 02169

                 HAYES HEALTHCARE
                 F/K/A HAYES LOCUMS
                 6700 N ANDREWS AVE
                 FT LAUDERDALE, FL 33309

                 HAYLEY GIACOMO
                 375 FREEMAN RD
                 PLAINFIELD, NH 03781

                 HB PLUMBING AND HEATING INC
                 PO BOX 945
                 SPRINGFIELD, VT 05156
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                 HEADSETS.COM INC
                 211 AUSTIN ST
                 SAN FRANCISCO, CA 94109

                 HEALTH CARE & REHABILIATION SV
                 390 RIVER STREET
                 SPRINGFIELD, VT 05156

                 HEALTH CARE LOGISTICS INC
                 PO BOX 400
                 CIRCLEVILLE, OH 43113-0400

                 HEALTH CARE TECHNOLOGY
                 200 BUTTERFIELD DRIVE , STE E
                 ASHLAND, MA 01721

                 HEALTHCARE BUS INSIGHTS LLC
                 DEPT CH 10822
                 PALATINE, IL 60055-0822

                 HEALTHCARE STRATEGY & MARKET D
                 PO BOX 75315
                 CHICAGO, IL 60675-5315

                 HEALTHNET
                 PO BOX 14700
                 LEXINGTON, KY 40512-4700

                 HEALTHSOURCE
                 BOX 2041
                 CONCORD, NH 03302

                 HEALTHSTREAM INC
                 500 11TH AVE NORTH
                 STE 1000
                 NASHVILLE, TN 37203

                 HEATHER BESAW
                 34 ASCUTNEY STREET
                 WINDSOR, VT 05089

                 HEATHER FINDLAY
                 PO BOX 332
                 BROWNSVILLE, VT 05037

                 HEATHER LANCOR
                 80 ACORN ST
                 WHITE RIVER, VT 05001

                 HELMER INC
                 PO BOX 1937 DEPT 30
                 INDIANAPOLIS, IN 46206
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                 HELY & WEBER
                 PO BOX 832
                 SANTA PAULA, CA 93061-0832

                 HENRY SCHEIN INC
                 PO BOX 371952
                 PITTSBURGH, PA 15250-7952

                 HIGGINS OFFICE PRODUCTS INC
                 PO BOX 2618
                 SOUTH PORTLAND, ME 04116-2618

                 HILL ROM IL
                 PO BOX 643592
                 PITTSBURGH, PA 15264-3592

                 HILLSIDE AUTO SALES & SVS INC
                 304 PADDOCK RD
                 SPRINGFIELD, VT 05156

                 HOBART SERVICE
                 ITW FOOD EQUIPMENT GROUP LLC
                 PO BOX 2517
                 CAROL STREAM, IL 60132-2517

                 HOLIDAY INN EXPRESS
                 818 CHARLESTOWN RD
                 SPRINGFIELD, VT 05156

                 HOLOGIC INC
                 24506 NETWORK PLACE
                 CHICAGO, IL 60673-1245

                 HOME DEPOT CREDIT SERVICES
                 DEPT 32-2021871383
                 PO BOX 9001030
                 LOUISVILLE`, KY 40290-1030

                 HOVERTECH INTERNATIONAL
                 513 S CLEWELL ST
                 BETHLEHEM, PA 18015

                 HP HOOD LLC
                 PO BOX 4060
                 BOSTON, MA 02211-4060

                 HPHC Insurance Company
                 PO Box 699183
                 Quincy, MA 02269-9183

                 HPHC Medicare Advantage HCFA
                 PO Box 151288
                 Tampa, FL 33684
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                 HRYCKIEWICZ DEBORAH J
                 840 TARBELL HILL RD
                 CAVENDISH, VT 05142

                 HU XIANGTIAN
                 45 COMMON ST
                 SPRINGFIELD, VT 05156

                 HUBERT COMPANY
                 25401 NETWORK PLACE
                 CHICAGO, IL 60673-1254

                 Humana
                 PO Box 19058
                 Jacksonville, FL 32245-9058

                 Humana
                 PO Box 14610
                 Lexington, KY 40512-4610

                 HUMANA HMO
                 PO BOX 14601
                 LEXINGTON, KY 40512-4061

                 HURD'S UPHOLSTERY
                 89 BELLOWS ROAD
                 SPRINGFIELD, VT 05156

                 IBEW Local 456 Welfare Fund
                 PO Box 1028
                 West Trenton, NJ 08628-0230

                 IBM
                 PO BOX 643600
                 PITTSBURGH, PA 15264-3600

                 IBP
                 PO BOX 2238
                 SUITE C
                 LOS BANOS, CA 93635

                 ICARE USA
                 PO BOX 872814
                 KANSAS CITY, MO 64187-2814

                 ICONTRACTS INC
                 1011 US ROUTE 22 WEST
                 STE 100
                 BRIDGEWATER, NJ 08807

                 IMA Inc
                 PO Box 21704
                 Eagan, MN 55121
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                 IMMUCOR INC
                 PO BOX 102118
                 ATLANTA, GA 30368-2118

                 INDEED INC
                 MAIL CODE 5160
                 PO BOX 660367
                 DALLAS, TX 75266-0367

                 INDELIBLE INC
                 9 GREELEY RD
                 SPRINGFIELD, VT 05156

                 INDESIGN FUNDRAISING
                 9 TIBBETTS HILL ROAD
                 GOFFSTOWN, NH 03045

                 INFINITT NORTH AMERICA INC
                 HILLCREST PROFESSIONAL PLAZA
                 755 MEMORIAL PARKWAY STE 304
                 PHILLIPSBURG, NJ 08865

                 INFOR (US) INC
                 NW 7418
                 PO BOX 1450
                 MINNEAPOLIS, MN 55485-7418

                 INFRA RED ANALYZERS INC
                 65 LYMAN DR
                 WILLISTON, VT 05495

                 INHEALTH TECHNOLOGIES
                 1110 MARK AVE
                 CARPINTERIA, CA 93013-2918

                 INJOY PRODUCTIONS, INC
                 7107 LA VISTA PLACE
                 LONGMONT, CO 80503

                 INK FACTORY
                 13 WATER STREET
                 CLAREMONT, NH 03743

                 INNOVATIONS
                 PO BOX 174
                 WALPOLE, NH 03608

                 INR
                 PO BOX 5757
                 CONCORD, CA 94524-0757

                 INSIGHT HEALTH CORP
                 PO BOX 847689
                 DALLAS, TX 75284
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                 INTEGRA LIFESCIENCES SALES LLC
                 PO BOX 404129
                 ATLANTA, GA 30384-4129

                 INTEGRATED REVENUE INTEGRITY
                 225 CEDAR HILL STREET
                 MARLBOROUGH, MA 01752

                 INTERACTIVE HEALTH INC
                 1700 E GOLF RD SUITE 900
                 SCHAUMBURG, IL 60173-5816

                 Internal Revenue Service c/o United Stat
                 11 Elmwood Ave., 3rd Fl.
                 P.O. Box 570
                 Burlington, VT 05402-0570

                 INTERNATIONAL MED SYS LTD
                 PO BOX 38371886 SANTA ANITA AVENUE
                 SOUTH EL MONTE, CA 91733

                 INVOTEC INTERNATIONAL
                 6833 PHILLIPS INDUSTRIAL BLVD
                 JACKSONVILLE, FL 32256

                 IPG EMPLOYEE BENEFITS
                 85 WASHINGTON STREET
                 KEENE, NH 03431

                 IRENE BERRY
                 128 PREEDOM HILL RD
                 LUDLOW, VT 05149

                 IRENE CHAFFEE
                 644 DEPOT STREET
                 APT #1
                 CHESTER, VT 05143

                 IRVING ENERGY DISTRIBUTION &
                 PO BOX 11013
                 LEWISTON, ME 04243

                 IZI MEDICAL PRODUCTS LLC
                 A DIVISION OF LANDAUER INC
                 PO BOX 83270
                 CHICAGO, IL 60691-0270

                 J&B GLASS
                 49 WILLIAMS ST
                 BELLOWS FALLS, VT 05101-1230

                 J&H HARDWARE
                 20 VILLAGE SQUARE
                 BELLOWS FALLS, VT 05101
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                 JACKLYNN AMIDON
                 1200 QUARRY RD
                 PUTNEY, VT 05346

                 JAKE'S SOUTH ST MARKET
                 181 SOUTH ST
                 SPRINGFIELD, VT 05156

                 JAMES SMITH PC


                 JANCIE WIGHTMAN
                 CERTIFIED SIGN LANGUAGE INTERPRETER
                 PO BOX 812
                 CHARLESTOWN, NH 03603

                 JANET BEAUCHAIN
                 53 VT ROUTE 10
                 N SPRINGFIELD, VT 05150

                 JANET LYLE
                 587 SPENCER HOLLOW RD
                 SPRINGFIELD, VT 05156

                 JANET PELOQUIN CHRISTENSEN
                 9 HARDY AVENUE #1
                 CLAREMONT, NH 03743

                 JANET SHERER
                 PO BOX 248
                 PROCTORSVILLE, VT 05153

                 JANET WILSON
                 PO BOX 552
                 SAXTONS RIVER, VT 05154

                 JANIE CASTILLO
                 745 LINCOLN HILL RD
                 CUTTINGSVILLE, VT 05738

                 JARRETT CALTRIDER
                 80 LINDEN ST
                 BRATTLEBORO, VT 05301

                 JASON BRETT DBA THE FISH GUY
                 11 MOITS PLACE
                 PLYMOUTH, NH 03264

                 JAYNA BATH
                 15 ARBOR WAY
                 ALSTEAD, NH 03602

                 JEAN WHITE
                 PO BOX 1114
                 MANCHESTER CENTER, VT 05255
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                 JEFF KRISTELLER
                 905 MT HOPE ST
                 N ATTLEBORO, MA 02760

                 JEFF WELLS OFFICE MACHINE SERV
                 17 HENRY ST
                 CLAREMONT, NH 03743

                 JENIFER AMBLER
                 PO BOX 8427
                 BRATTLEBORO, VT 05304-8427

                 JENNIFER FITCH
                 PO BOX 433
                 BROWNSVILLE, VT 05037

                 JENSIE PLIEGO
                 3 CINDY AVE
                 CLAREMONT, NH 03743

                 JESSICA MARTIN
                 766 MAPLE ST
                 PEERKINSVILLE, VT 05151

                 JESSICA PERKINS
                 29 MARKHAM LANE
                 WESTON, VT 05161

                 JI CHEN
                 P O BOX 457
                 BONDVILLE, VT 05340

                 JIM SMITH
                 11 WATKINS AVE
                 RUTLAND, VT 05701

                 JJ KELLER & ASSOCIATES INC
                 PO BOX 6609
                 CAROL STREAM, IL 60197-6609

                 JODI DUMAYNE
                 422 ELM ST
                 CLAREMONT, NH 03743

                 JODIE PROPER
                 14 WINTER STREET
                 APT B
                 NEWPORT, NH 03773

                 JODY PAUL
                 114 MOUNTAIN VIEW DRIVE
                 APT C
                 SPRINGFIELD, VT 05156
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                 JOELLA MCCARRAGHER
                 25 UNDERHILL RD
                 MERIDEN, NH 03770

                 JOHN YAFFEE
                 18 SCHOOL STREET
                 NO. SPRINGFIELD, VT 05150

                 JOHN ALDEN INS
                 BOX 1599
                 BOISE, ID 83701

                 JOHN DUFF
                 2 SUMMER STREET
                 SPRINGFIELD, VT 05156

                 JOHN DUNHAM
                 P O BOX 257
                 SPOFFORD, NH 03462-0257

                 JOHNNY RODRIGUEZ
                 119 JUDLAND HEIGHTS
                 CHARLESTOWN, NH 03603

                 JOHNSON & JOHNSON
                 HEALTH CARE SYSTEMS INC
                 PO BOX 406663
                 ATLANTA, GA 30384-6663

                 JOHNSON & ROUNTREE PREMIUM
                 PO BOX 2625
                 DEL MAR, CA 92014

                 JONI FOSTER ROBINSON
                 153 MEADOW LANE
                 SPRINGFIELD, VT 05156

                 JOSEPH ARCHITECTS LLC
                 25 CROSSROAD #1
                 WATERBURY, VT 05676

                 JOSH CASCADDEN
                 596 SHAKER HILL RD
                 ENFIELD, NH 03748

                 JOSSELYN MITCHELL
                 500 DAVIDSON HILL RD
                 CHESTER, VT 05143

                 JOYCE HAMILTON
                 165 SUMMER STREET
                 SPRINGFIELD, VT 05156
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                 JP PEST SERVICE
                 101 EMERSON RD
                 MILFORD, NH 03055-3517

                 JULIA READE
                 321 WALNUT STREET #423
                 NEWTONVILLE, MA 02460-1927

                 JULIE SNIDE
                 8 LARK LANE
                 SPRINGFIELD, VT 05156

                 JUSTIN WALKER


                 K LOGIX LLC
                 1319 BEACON ST, STE 1
                 BROOKLINE, MA 02446

                 KAISER FOUNDATION
                 PO BOX 12923
                 OAKLAND, CA 94604-2923

                 KAREN CHARBONEAU
                 PO BOX 348
                 N SPRINGFIELD, VT 05150

                 KAREN HARRISON
                 2 ROBINWOOD LANE
                 RUTLAND, VT 05701

                 KAREN TOLLICK


                 KARIN GRANN
                 103 E. SHORE DRIVE
                 COLCHESTER, CT 06415-5218

                 KARL STORZ ENDOSCOPY AMERICA
                 FILE #53514
                 LOS ANGELES, CA 90074-3514

                 KASEY KRUSE ELY
                 3723 ROUTE 44
                 BROWNSVILLE, VT 05037

                 KASEYA US SALES LLC
                 P O BOX 419327
                 BOSTON, MA 02241-9327

                 KASSANDRA MAXFIELD
                 35 SCHOOL STREET
                 BELLOWS FALLS, VT 05101
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                 KASSANDRA MAXFIELD
                 PO BOX 324
                 BELLOWS FALLS, VT 05101

                 KATHERINE SILTA
                 145 STOKES RD
                 SPRINGFIELD, VT 05156

                 KATHLEEN COTA
                 96 OLIVE ST
                 SPRINGFIELD, VT 05156

                 KATHLEEN RAVLIN
                 41 MATTSON RD
                 CHESTER, VT 05143

                 KATHLEEN SAUNDERS
                 593 POST ROAD EXT
                 RUTLAND, VT 05701

                 KATHY DAIGLE
                 4 CHASE PARK
                 BELLOWS FALLS, VT 05101

                 KAUFMAN HALL & ASSOCIATES, LLC
                 8610 SOLUTIONS CENTER
                 CHICAGO, IL 60677-8006

                 KCI USA
                 PO BOX 301557
                 DALLAS, TX 75303-1557

                 KEENE CHRYSLER
                 410 Winchester Street
                 Keene, VT 03431

                 KELLEY BRIGGS
                 51 MARK ST
                 SPRINGFIELD, VT 05156

                 KELLEY SALES & SERVICE INC
                 74-80 CLINTON ST
                 SPRINGFIELD, VT 05156

                 KELLY BLANCHARD
                 3 SUMMER HILL ST APT 3
                 SPRINGFIELD, VT 05156

                 KENDALL HUNT PUBLISHING CO
                 4050 WESTMARK DRIVE
                 P O BOX 1840
                 DUBUQUE, IA 52002
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                 Key Equipment Finance Inc
                 1000 South McCaslin Blvd
                 Superior, CO 80027

                 KEY SURGICAL INC
                 ATTN: ACCTS RECEIVABLE
                 PO BOX 74809
                 CHICAGO, IL 60694-4809

                 KIMBERLY ROUNDS
                 171 UNION STREET
                 SPRINGFIELD, VT 05156

                 KINNEY SERVICES, INC.
                 1205 TROY SCHENECTADY RD
                 SUITE 106
                 LATHAM, NY 12110

                 KITTREDGE EQUIPIMENT CO     VT
                 484 AVENUE D
                 WILLISTON, VT 05495

                 KITTREDGE EQUIPMENT CO     NH
                 520 RTE 3A
                 BOW, NH 03304

                 KLEEN INC
                 1 FOUNDRY ST
                 LEBANON, NH 03766

                 KRAMES STAYWELL LLC
                 PO BOX 90477
                 CHICAGO, IL 60696-0477

                 KRISTIN REFIENRATH


                 L&M FAMILY CAREGIVERS
                 PO BOX 754
                 SPRINGFIELD, VT 05156

                 LABCORP OF AMERICA HOLDINGS
                 PO BOX 12140
                 BURLINGTON, NC 27216-2140

                 LANDAUER INC
                 PO BOX 809051
                 CHICAGO, IL 60680-9051

                 LANGUAGE LINE SERVICES
                 PO BOX 202564
                 DALLAS, TX 75320-2564
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                 LARA CARMICHAEL
                 10 ROCKINGHAM POST RD
                 BELLOWS FALLS, VT 05101

                 LATASHA HEAPE CRNA
                 47 WHIPPLE HILL RD
                 WALPOLE, NH 03608

                 LAURA POMEROY
                 400 LACROSS RD
                 SPRINGFIELD, VT 05156

                 LAUREN BOREHAM
                 192 SCOTTS DR
                 CHARLESTOWN, NH 03603

                 LAUREN NAVAS
                 PO BOX 969
                 QUECHEE, VT 05059

                 LAURIE PERRY
                 PO BOX 881
                 PANHANDEL, TX 79068-0881

                 LAVALLEY BLDG SUP INC
                 PO BOX 267
                 NEWPORT, NH 03773-0267

                 LAWRENCE & LOBER ELECTRIC INC
                 15 BARKER ST
                 BELLOWS FALLS, VT 05101-1550

                 Lawson Group
                 PO Box 3304
                 Concord, NH 03301

                 LEADERSHIP SOUTHEAST VERMONT
                 % SPRINGFIELD CHAMBER
                 14 CLINTON STREET STE 6
                 SPRINGFIELD, VT 05156

                 LEASING ASSOC OF BARRINTON
                 220 NORTH RIVER STREET
                 EAST DUNDEE, IL 60118

                 LEE MIRRISETTE


                 LEICA MICROSYSTEMS INC
                 14008 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693

                 LENORE DELPRETE
                 23 WHITE TAIL LANE
                 WALLINGFORD, VT 05773
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                 LEON JULIAN
                 242 ELM HILL ST
                 SPRINGFIELD, VT 05156

                 LEONA BROWN
                 PO BOX 374
                 BELLOWS FALLS, VT 05101

                 LEONARD REYNOLDS
                 363 US ROUTE 5
                 WESTMINSTER, VT 05346

                 LESLIE'S TAVERN
                 660 ROCKINGHAM RD
                 ROCKINGHAM, VT 05101

                 Liberty Mutual
                 PO Box 9525
                 MANCHESTER, NH 03108

                 Liberty Mutual
                 PO Box 7203
                 London, KY 40742

                 Liberty Mutual
                 PO Box 7071
                 London, KY 40742-7071

                 LIBERTY MUTUAL
                 PO BOX 515099
                 LOS ANGELES, CA 90051-5099

                 LIFE LINES MEDICAL INC
                 91 FRENCH AVE
                 BRAINTREE, MA 02184

                 LILA MENZI
                 1295 CRANS ROAD
                 MILLPORT, NY 14864

                 LINA
                 PO BOX 13701
                 PHILADELPHIA, PA 19101-3701

                 LINDA HURLEY
                 PO BOX 61
                 WESTMINSTER, VT 05158

                 LINDA THOMSON
                 131 THOMSON DRIVE
                 LUDLOW, VT 05149

                 LINDA WILCOX
                 PO BOX 388
                 CHESTER, VT 05143
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                 LINDLEY ACQUISITION CORP
                 PO BOX 743074
                 ATLANTA, GA 30374-3074

                 LINDSEY STANTON
                 937 BALTIMORE ROAD
                 CHESTER, VT 05143

                 LISA GOSSELIN
                 79 DURHAM AVE
                 CLAREMONT, NH 03743

                 LISAI'S MARKET
                 128 ATKINSON STREET
                 BELLOWS FALLS, VT 05101

                 LOGMEIN USA, INC.
                 PO BOX 50264
                 LOS ANGELES, CA 90074-0264

                 LONDON HEALTH ADMINISTRATORS, LTD
                 40 COMMERCIAL WAY
                 EAST PROVIDENCE, RI 02914

                 LONG RIVER PEARLS
                 71 BABOCK ROAD
                 MORRISVILLE, VT 05661

                 LOUISA NUFIELD
                 41 FAIRGROUND HEIGHTS
                 SPRINGFIELD, VT 05156

                 Loyal Americans Life Ins Co
                 PO Box 30010
                 Austin, TX 78755-3010

                 LUCY ZHANG
                 TRADITIONAL CHINESE ACUPUNCTURE
                 99 OLIVE ST
                 SPRINGFIELD, VT 05156

                 LUDLOW HEALTH FAIR
                 1 ELM ST
                 LUDLOW, VT 05149

                 LUDLOW PHARMACY INC.
                 57 POND ST
                 LUDLOW, VT 05149

                 LYNDSY MCINTYRE
                 PO BOX 532
                 LONDONDERRY, VT 05148
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                 LYNN LIQUE
                 48 NORTH MAIN STREET
                 SPRINGFIELD, VT 05156

                 M and M Insurance Plan
                 PO Box 10432
                 Des Moines, IA 50306-0432

                 MACQUARRIE THOMAS
                 296 MASSEY RD
                 SPRINGFIELD, VT 05156

                 MACRO HELIX INC
                 PO BOX 742256
                 ATLANTA, GA 30374-2256

                 MAGNACARE
                 825 EAST GATE BLVD
                 GARDEN CITY, NY 11530-2101

                 MAILHANDLERS
                 PO BOX 8402
                 LONDON, KY 40742-8402

                 MAINE CARE SERVICES UB
                 STATE HOUSE STATION 11
                 AUGUSTA, ME 04333-0011

                 MAINE MOLECULAR QUALIITY CONTR
                 23 MILL BROOK ROAD
                 SACO, ME 04072

                 MAINE STANDARDS CO, LLC
                 221 US ROUTE 1
                 CUMBERLAND FORESIDE, ME 04110

                 MANNER KENDALL
                 70 POLLARD RD
                 LUDLOW, VT 05149

                 MARCIA MANNER
                 70 POLLARD RD
                 LUDLOW, VT 05149

                 MARIE GELINEAU
                 148 STELLAFANE ROAD
                 SPRINGFIELD, VT 05156

                 MARIE LAPLANTE
                 152C MONUMENT HILL
                 SPRINGFIELD, VT 05156

                 MARISSA MILLER BENNETT
                 1207 FISHER HILL ROAD
                 GRAFTON, VT 05146
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                 MARK N MEND INC
                 38151 AIRPORT PKWY UNIT #54
                 WILLOUGHBY, OH 44094

                 MARK AUGUSTAUSKAS
                 39 PARKERHILL ROAD
                 CAVENDISH, VT 05142

                 MARK BLANCHARD
                 PO BOX 812
                 SPRINGFIELD, VT 05156

                 MARK HALL
                 35 WESTVIEW TERRACE
                 SPRINGFIELD, VT 05156

                 MARK HILDEBRAND
                 229 TARBELLVILLE ROAD
                 BELMONT, VT 05730

                 MARKETLAB INC
                 DEPT 2506
                 PO BOX 11407
                 BIRMINGHAM, AL 35246-2506

                 MARTIN GREGORY
                 191 ROUTE 100S
                 LUDLOW, VT 05149

                 MARTINS POINT US FAMILY
                 PO BOX 11410
                 PORTLAND, ME 04104-7410

                 MARVIN MALEK
                 698 VT ROUTE 11 WEST
                 CHESTER, VT 05743

                 MARY HITCHCOCK MEM HOSPITAL
                 PO BOX 419112
                 BOSTON, MA 02241

                 MARY MCCARTHY
                 65 FROST PLACE
                 BRATTLEBORO, VT 05301

                 MARY PERRY
                 MP TRAVEL
                 11 OVERLOOK DR
                 SPRINGFIELD, VT 05156

                 MARY PUTNAM
                 12 KEVADUS CIRCLE
                 CHESTER, VT 05143
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                 Mascoma Bank
                 P.O. Box 4399
                 White River Junction, VT 05001

                 MAURY SMITH
                 1 PROSPECT AVE
                 RANDOLPH, VT 05060

                 MAXI DRUG NORTH, INC.
                 RITE AID #10288
                 73 PLEASANT ST STE 1
                 CLAREMONT, NH 03743

                 MAXI GREEN, INC.
                 RITE AID #10311
                 112 ROCKINGHAM STREET
                 BELLOWS FALLS, VT 05101

                 MAXI GREEN, INC.
                 RITE AID #10312
                 213 MAIN STREET
                 LUDLOW, VT 05149

                 MAXI GREEN, INC.
                 RITE AID #10313
                 2 CHESTER ROAD SUITE 25
                 SPRINGFIELD, VT 05156

                 MAYER & MAYER
                 PO BOX 59
                 SOUTH ROYALTON, VT 05068

                 MAYO COLLABORATIVE SERVICES IN
                 DBA MAYO MEDICAL LABORATORIES
                 PO BOX 9146
                 MINNEAPOLIS, MN 55480-9146

                 MAZEN SADEH
                 59 MAPLE AVE
                 APT 45
                 KEENE, NH 03431

                 MB Financial Bank, N.A.
                 6111 N. River Road
                 Rosemont, IL 60018

                 MCGIRR                      NURSING HOM
                 33 ATKINSON STREET
                 BELLOWS FALLS, VT 05101

                 MCGOWAN ENTERPRISES INC
                 dba ACUTE CARE PHARMACEUTICALS
                 12225 WORLD TRADE DR STE A
                 SAN DIEGO, CA 92128
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                 MCKESSON
                 PO BOX 848442
                 DALLAS, TX 75284-8442

                 MCKESSON MEDICAL SURGICAL INC
                 PO BOX 660266
                 DALLAS, TX 75266-0266

                 MCMASTER CARR
                 PO BOX 7690
                 CHICAGO, IL 60680-7690

                 MDP ENTERPRISES INC
                 176 POPPLE RD
                 SPRINGFIELD, VT 05156-8862

                 Meadow Brook Insurance FOCUS
                 PO Box 219559
                 Kansas CIty, MO 64121

                 MEADOWBROOK
                 10NEW ENGLND BUSINESS CTR
                 SUITE 303
                 ANDOVER, MA 01810-1096

                 MEDBEN                           HCVM
                 1975 TAMARACK ROAD
                 NEWARK, OH 43058

                 MEDBEN                   HCVM
                 BOX 2388
                 STOW, OH 44224

                 MEDCARE PRODUCTS INC
                 875 BLUE GENTIAN ROAD
                 SUITE400
                 EAGAN, MN 55121

                 MEDELA INC
                 38789 EAGLE WAY
                 CHICAGO, IL 60678-1387

                 MEDI KID CO
                 PO BOX 5398
                 HEMET, CA 92544

                 MEDIBADGE
                 PO BOX 12307
                 OMAHA, NE 68112-0307

                 Medicaid of New Hampshire
                 PO Box 2003
                 Concord, NH 03302-2003
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                 Medicaid Of Vermont
                 PO Box 888
                 Williston, VT 05495-0888

                 MEDICAL CLAIMS SERVICE/HCVM
                 1 WALL ST SUITE 2A
                 RAVENSWOOD, WV 26164-1714

                 MEDICAL MUTUAL INS CO OF MAINE
                 PO BOX 15275
                 ATTN: ACCOUNTING
                 PORTLAND, ME 04112-9831

                 MEDICAL SOLUTIONS
                 1010 N 102ND STREET
                 SUITE 300
                 OMAHA, NE 68114

                 MEDICARE
                 3000 GOFFS FALLS RD
                 MANCHESTER, NH 03111-0001

                 MEDICARE
                 PO BOX 6474
                 INDIANAPOLIS, IN 46206-6474

                 MEDICARE                   PHYSICIAN NHI
                 75 WILLIAM TERRY DRIVE
                 HINGHAM, MA 02044

                 Medicare of NH HCFA
                 PO Box 6178
                 Indianapolis, IN 46206-6178

                 MEDIVATORS
                 NW 9841
                 PO BOX 1450
                 MINNEAPOLIS, MN 55485

                 MEDLINE INDUSTRIES INC
                 DEPT 1080
                 PO BOX 121080
                 DALLAS, TX 75312-1080

                 MEDTOX DIAGNOSTICS INC
                 PO BOX 60575
                 CHARLOTTE, NC 28260

                 MEDTRONIC USA INC
                 PO BOX 409201
                 ATLANTA, GA 30384-9201

                 MEGAN HOYT
                 PO BOX 255
                 CHARLESTOWN, NH 03603
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                 MELANSON COMPANY INC
                 PO BOX 523
                 KEENE, NH 03431

                 MELINDA DUBEAU
                 23 PARKVIEW WAY
                 WOODSTOCK, VT 05091

                 MELISSA KEMPTON
                 PO BOX 57
                 RANDOLPH, VT 05060

                 MELVIN CHARBONEAU
                 PO BOX 348
                 N SPRINGFIELD, VT 05150

                 MEMIC
                 PO BOX 6726
                 PORTLAND, OR 97228-6726

                 MEMIC CASUALTY COMPANY
                 PO BOX 11409
                 PORTLAND, ME 04104

                 MEMIC IDEMNITY COMPANY
                 PO BOX 9500
                 LEWISTON, ME 04243-9500

                 Memic Indemnity Company
                 PO Box 3606
                 Portland, ME 04104-3606

                 MENTOR WORLDWIDE LLC
                 15600 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693

                 MERIDIAN
                 1001 WOODWARD AVE
                 SUITE 540
                 DETROIT, MI 48226-1904

                 MERIDIAN BIOSCIENCE
                 PO BOX 630224
                 CINCINNATI, OH 45263-0224

                 MERITAIN
                 PO BOX 27267
                 MINNEAPOLOIS, MN 55427-0267

                 Meritain Health Non Contracted
                 PO Box 853921
                 Richardson, TX 75085-3921
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                 MERRY X RAY CORPORTATION
                 4909 MURPHY CANYON RD
                 STE 120
                 SAN DIEGO, CA 92123

                 MGC DIAGNOSTICS
                 BIN #11
                 PO BOX 9201
                 MINNEAPOLIS, MN 55480-9201

                 MICHAEL GECAWICH
                 P O BOX 8558
                 WARWICK, RI 02888

                 MICHAEL SMITH
                 96 MORNINGSIDE COMMONS
                 BRATTLEBORO, VT 05301

                 MICHAUD'S CLEANING SERVICE LLC
                 70 WINDY ACRES
                 CHARLESTOWN, NH 03603

                 MICHELLE BARANOWSKI
                 83 STODDARD ROAD
                 SPRINGFIELD, VT 05156

                 MICHELLE JOHNSON
                 972 FRENCH MEADOW RD
                 SPRINGFIELD, VT 05156

                 MICHELLE TAVARES
                 4 GOVE ST
                 BELLOWS FALLS, VT 05101

                 MICRON AIR PURIFICATION
                 57 COOLEY DRIVE
                 LONGMEADOW, MA 01106

                 MID VERMONT PATHOLOGY PC
                 868 BIXBY RD
                 E WALLINGFORD, VT 05742

                 MID VERMONT PATHOLOGY
                 520 E 22ND ST
                 LOMBARD, IL 60148-6110

                 MIDMARK
                 PO BOX 842268
                 BOSTON, MA 02284-2268

                 MILLENNIUM SURGICAL CORP
                 822 MONTGOMERY AVE SUITE 205
                 NARBERTH, PA 19072
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                 MINDRAY DS USA INC
                 24312 NETWORK PL.
                 CHICAGO, IL 60673-1243

                 MINUTEMAN HEALTH
                 ONE MONARCH PLACE
                 SUITE 1500
                 SPRINGFIELD, MA 01144-1001

                 MINVASIVE SURGICAL
                 327 WATER ST
                 WARREN, RI 02855

                 MOORE MEDICAL
                 PO BOX 99718
                 CHICAGO, IL 60696

                 MORGAN JESSICA
                 157 PARK ST APT 2
                 SPRINGFIELD, VT 05156

                 MORNINGSIDE SERVICES
                 16 MORNINGSIDE LANE
                 CHARLESTOWN, NH 03603

                 MORSE PROPERTIES 252 268 RIVER
                 ATTN: TODD & BELINDA MORSE
                 PO BOX 6
                 N SPRINGFIELD, VT 05150

                 MOUNTAIN VIEW PUBLISHING LLC
                 135 LYME RD
                 HANOVER, NH 03755

                 MT ASCUTNEY HOSP & HEALTH CTR
                 289 COUNTY ROAD
                 WINDSOR, VT 05089-9000

                 MTI
                 8060 E RESEARCH COURT
                 TUCSON, AZ 85710

                 MTMI
                 W140 N8917 LILLY RD
                 MENOMONEE FALLS, WI 53051

                 MUELLER DIANE
                 52 SHORE DR
                 NEWBURY, NH 03255

                 Mutual Of Omaha
                 3300 Mutual of Omaha Plaza
                 Omaha, NE 68175
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                 MVP
                 PO BOX 2207
                 Schenectady, NY 12301-2207

                 MVP CATAMOUNT
                 PO BOX 1076
                 SCHENECTADY, NY 12301-1076

                 NANCY THIBODEAU
                 125 BIRCH DR
                 CHARLESTOWN, NH 03603

                 NAOMI MOYER
                 2665 LINDS HILL RD
                 PLYMOUTH, VT 05056

                 NATALIE LOONEY
                 252 ELY DR
                 WHITE RIVER JUNCTION, VT 05001-4499

                 NATIONAL ASSO SELF EMPLOYEED
                 BOX 982009
                 9151 GRAPEVINE HIGHWAY
                 N RICHLANDHILLS, TX 76180-5605

                 NATIONAL GOVERNMENT SERVICES
                 PO BOX 809645
                 US BANK LOCKBOX SERVICES JKB
                 CHICAGO, IL 60680-9645

                 National Grange Mutual
                 4601 Touchton Rd East Suite 3400
                 Jackson, FL 32245-6000

                 Nationwide
                 PO Box 182066
                 Columbus, OH 43218

                 Nationwide Agribussiness
                 PO Box 9195
                 Des Moines, IA 50306

                 Nationwide Insurance
                 PO Box 69080
                 Harrisburg, PA 17106

                 Nationwide Insurance
                 PO Box 182079
                 Columbus, OH 42318

                 NATURAE MEDICAL
                 20 TECHNOLOGY DRIVE
                 SUITE 7
                 BRATTLEBORO, VT 05301
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                 NATUS MEDICAL INC
                 PO BOX 3604
                 CAROL STREAM, IL 60132-3604

                 NAVIENT
                 PO BOX 9533
                 WILKES-BARRE, PA 18773-9532

                 NAVIENT
                 PO BOX 9640
                 WILKES-BARRE, PA 18773-9640

                 NE CARPET KING & TILE INC
                 261 RIVER ST
                 SPRINGFIELD, VT 05156

                 NEIGHBORHOOD HEALTH PLAN
                 PO BOX 853908
                 RICHARDSON, TX 75085-3908

                 NELNET DEPT OF EDUCATION
                 PO BOX 740283
                 ATLANTA, GA 30374-0283

                 NEOPOST USA INC
                 ATTN: COLLECTIONS DEPT
                 478 WHEELERS FARMS ROAD
                 MILFORD, CT 06461

                 NEOTECH PRODUCTS INC
                 28430 WITHERSPOON PARKWAY
                 VALENCIA, CA 91355

                 NET 2 PRESS INC
                 CALL SERVICE #105100
                 TUCKER, GA 30085-5100

                 NETWORK SERVICES CO
                 29060 NETWORK PLACE
                 CHICAGO, IL 60673-1290

                 NEW ENGLAND ALLIANCE FOR HEALT
                 DARTMOUTH HITCHCOCK
                 One Medical Center Drive
                 LEBANON, NH 03756-0001

                 NEW ENGLAND CARPET KING & TILE
                 261 RIVER STREET
                 SPRINGFIELD, VT 05156

                 NEW ENGLAND DOCUMENT SYSTEMS
                 750 E INDUSTRIAL PARK DR
                 MANCHESTER, NH 03109
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                 NEW ENGLAND FINANCIAL
                 BOX 11111
                 FORT SCOTT, KS 66701

                 NEW ENGLAND ICE CREAM
                 P O BOX 4110
                 DEPT 3530
                 WOBURN, MA 01888-4110

                 NEW ENGLAND MEDGAS LLC
                 178 WILLIAMSVILLE RD
                 HUBBARDSTON, MA 01452

                 NEW ENGLAND MEDICAL SPECIALTIE
                 PO BOX 329
                 GUILFORD, CT 06437

                 NEW ENGLAND MICROSCOPE SVS
                 P O BOX 18
                 SWAMPSCOTT, MA 01907

                 NEW ENGLAND NEWSPAPERS INC
                 PO BOX 1171
                 PITTSFIELD, MA 01202-1171

                 NEW ENGLAND ORTHOPEDIC SOCIETY
                 PO BOX 549127
                 WALTHAM, MA 02454-9127

                 NEWS LINE PUBLISHING
                 515 SHOEMAKER ROAD
                 SUITE 101
                 KING OF PRUSSIA, PA 19406

                 NFP EXECUTIVE BENEFITS
                 BILLING DEPT
                 100 WESTWOOD PLACE SUTIE 440
                 BRENTWOOD, TN 37027

                 NFP PROPERTY & CASUALTY
                 PO BOX 2127
                 620 HINESBURG ROAD
                 SOUTH BURLINGTON, VT 05407-2127

                 NH Auto Assn Ins Co
                 PO Box 2337
                 Concord, NH 03302

                 NH HEALTHY FAMILIES
                 GRANITE STATE HEALTH PLAN
                 PO BOX 4060
                 FARMINGTON, MO 63640-3831
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                 NH MEDICAID                      PSYCH
                 BOX 2003
                 CONCORD, NH 03302-2003

                 NH/VT AHVS
                 NANCY COLLINS
                 MANAGER OF VOLUNTEER SERVICES
                 NEW LONDON, NH 03257

                 NICHOLAS CAPORASSO
                 46 UPPER BIRCH CIRCLE
                 WINDHAM, VT 05359

                 NICHOLE YOUNG
                 55 REAGAN ROAD
                 CHARLESTOWN, NH 03603

                 NICKI GOODRICH
                 1090 PLEASANT VALLEY RD
                 SPRINGFIELD, VT 05156

                 NICOLE PELLETIER
                 44 SCHOOL STREET
                 NO. SPRINGFIELD, VT 05150

                 NICOLE TUFTS
                 P O BOX 473
                 NO SPRINGFIELD, VT 05150

                 NIGHTINGALE NURSES LLC
                 DRAWER 1256
                 P O BOX 5935
                 TROY, MI 48007-5935

                 NMS LABS
                 PO BOX 820090
                 PHILADELPHIA, PA 19182-0090

                 NOLIN MURRAY CENTER
                 ST. MARY'S CHURCH
                 10 PLEASANT STREET
                 SPRINGFIELD, VT 05156

                 None. The Debtor is a non-profit corp.


                 NORTH COAST MEDICAL INC
                 780 JARVIS DR STE 100
                 MORGAN HILL, CA 95037

                 NORTHAMERICAN ADMINISTRATORS
                 BOX 9501
                 AMHERST, NY 14226-9501
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                 NORTHEAST CUTLERY
                 244 ASH ST
                 READING, MA 01867

                 NORTHEAST DELTA DENTAL
                 PO BOX 2002
                 ONE DELTA DRIVE
                 CONCORD, NH 03302-2002

                 NORTHEAST DOOR CORP
                 PO BOX 2366
                 CONCORD, NH 03302

                 NORTHEAST INDUSTRIAL SERVICES
                 P.O. BOX 485
                 77B PIERSON LANE
                 WINDSOR, CT 06095

                 NORTHERN NEW ENGLAND TRAUMA
                 EDUCATION
                 DHMC TRAUMA PROGRAM
                 LEBANON, NH 03756

                 NOVA BIOMEDICAL
                 PO BOX 983115
                 BOSTON, MA 02298-3115

                 NRC HEALTH
                 PO BOX 809030
                 CHICAGO, IL 60680-9030

                 NTCA
                 PO Box 30783
                 Salt Lake City, UT 84130-0783

                 NTCA
                 30 TOWN SQ BLVD SUITE 300
                 ASHVILLE, NC 28803-5087

                 NUANCE COMMUNICATIONS INC
                 PO BOX 7247-6924
                 PHILADELPHIA, PA 17170-6924

                 NUTRITION GRAPHICS
                 PO BOX 276264
                 SACRAMENTO, CA 95827-6264

                 O'REILLY AUTOMOTIVE, INC.
                 PO BOX 9464
                 SPRINGFIELD, MO 65801-9464

                 OFFICE DEPOT
                 PO BOX 633204
                 CINCINNATI, OH 52633-3204
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                 OFFICE ENVIRONMENTS
                 P O BOX 729
                 WILLISTON, VT 05495

                 OFFICE WORLD INC
                 PO BOX 729
                 WILLISTON, VT 05495

                 OFFICEMAX CONTACT
                 PO BOX 101705
                 ATLANTA, GA 30392-1705

                 OKEMO LIMITED LIABILITY CO
                 77 OKEMO RIDGE RD
                 LUDLOW, VT 05149

                 OLD ENGLISH LLC
                 DBA SUPERIOR INTERIOR
                 172 KEVADUS CIRCLE
                 CHESTER, VT 05143

                 OLYMPUS AMERICA INC
                 PO BOX 200194
                 PITTSBURGH, PA 15251-0194

                 OLYMPUS SURGICAL & INDUST INC
                 DEPT 0600
                 PO BOX 120600
                 DALLAS, TX 75312-0600

                 One Care Vermont attn: Kevin Stone, CEO
                 356 Mountain View Drive
                 Suite 301
                 Colchester, VT 05446

                 One Care Vermont c/o Linda Cohen
                 P.O. Box 988
                 209 Battery Street
                 Burlington, VT 05402-0988

                 ONE COMMUNICATIONS
                 PO BOX 415721
                 BOSTON, MA 02241-5721

                 ONE HEALTH PLAN
                 BOX 11111
                 FORT SCOTT, KS 66701

                 ONECAREVERMONT
                 ATTN: THOMAS BORYS
                 356 MOUNTAIN VIEW DR SUITE 301
                 COLCHESTER, VT 05446
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                 OPTUM360
                 PO BOX 88050
                 CHICAGO, IL 60680-1050

                 ORAL & DENTAL IMPLANT SURGERY
                 155 WOODSTOCK AVENUE
                 RUTLAND, VT 05701-3587

                 ORR&RENO
                 45 S MAIN ST
                 PO BOX 3550
                 CONCORD, NH 03302-3550

                 ORTHOPEDIC TRAUMA ASSOCIATION
                 9400 WEST HIGGINS RD
                 ROSEMONT, IL 60018-4976

                 OTICON INC
                 PO BOX 347996
                 PITTSBURGH, PA 15251-4996

                 OWENS & MINOR MEDICAL INC
                 PO BOX 414887
                 BOSTON, MA 02241-4887

                 OXFORD HEALTH PLAN
                 PO BOX 7082
                 ATTN CLAIMS
                 BRIDGEPORT, CT 06601-7082

                 OXFORD INSTRUMENTS SERVICE LLC
                 1027 SW 30TH AVENUE
                 DEERFIELD BEACH, FL 33442

                 PACIFIC MEDICAL LLC
                 32981 CALLE PERFECTO
                 SAN JUAN CAPISTRANO, CA 92675

                 PAJUNK MEDICAL SYSTEMS
                 5126 S ROYAL ATLANTA DR
                 TUCKER, GA 30084

                 PAMELA ADAMS LACKEY
                 2672 FLAMSTEAD RD
                 CHESTER, VT 05143

                 PARTS SOURCE LLC
                 PO BOX 645186
                 CINCINNATI, OH 45264-5186

                 PATIENT TELEPHONE SUPPLY
                 PO BOX 84372
                 BATON ROUGE, LA 70884-4372
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                 PC Conection Financial
                 2330 Interstate 30
                 Mesquite, TX 75150

                 PC CONNECTION SALES CORP
                 PO BOX 536472
                 PITTSBURGH, PA 15253-5906

                 PC PLUS
                 BOX 888
                 WILLISTON, VT 05495-0888

                 PCM
                 FILE 55327
                 LOS ANGELES, CA 90074-5327

                 PEARSON MEDICAL TECH LLC
                 2804 N BOLTON AVE
                 ALEXANDRIA, LA 71303-4509

                 PEDIGO PRODUCTS INC
                 UNIT 03PO BOX 4280
                 PORTLAND, OR 97208

                 PEERLESS INSURANCE
                 PO BOX 7205
                 LONDON, KY 40742-7205

                 PELMAC INDUSTRIES INC
                 12 COMMERICAL COURT
                 AUBURN, NH 03032

                 PENN MARR BOILER CLEANING, INC
                 10 NORTHFIELD RD
                 WALLINGFORD, CT 06492

                 PENSION BENEFIT GUARANTY CORP
                 PO BOX 105758
                 ATLANTA, GA 30348-5758

                 PENTAX MEDICAL CO
                 A DIV OF PENTAX AMERICA INC
                 PO BOX 820146
                 PHILADELPHIA, PA 19182

                 People's United
                 190 Maple Street
                 White River Junction, VT 05001

                 PEOPLES LINEN SERVICE
                 PO BOX 751
                 KEENE, NH 03431
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                 PEPSI LEADER DISTRIBUTION SYS
                 PO BOX 8285
                 PUTNEY ROAD
                 BRATTLEBORO, VT 05304

                 PERAZA DERMATOLOGY
                 252 BROAD ST
                 CLAREMONT, NH 03743-2636

                 PERFORMANCE HEALTH
                 PO BOX 93040
                 CHICAGO, IL 60673

                 PERFORMANT RECOVERY, INC.
                 ATTN: WAGE WITHHOLDING DEPARTMENT
                 PO BOX 205789
                 DALLAS, TX 75320-5789

                 PERKINS BIOMEDICAL SERVICES
                 PO BOX 16504
                 HOOKSETT, NH 03106

                 PETE'S PHARMACY
                 242 RIVER STREET
                 SUITE 9
                 SPRINGFIELD, VT 05156

                 PFIZER INC
                 PO BOX 417510
                 BOSTON, MA 02241-7510

                 PHARMALOGIC LTD
                 P O BOX 787442
                 PHILADELPHIA, PA 19178-7442

                 PHILIPS HEALTHCARE
                 PO BOX 100355
                 ATLANTA, GA 30384-0355

                 PHONAK LLC
                 35555 EAGLE WAY
                 CHICAGO, IL 60678-1355

                 PHYSCIAN PATIENT FINANCIAL
                 SERVICES-UVM
                 40 IDX, STE 101
                 BURLINGTON, VT 05402-1810

                 PHYSICAL REHAB & HEALTH CENTER
                 245 STRATTON RD
                 RUTLAND, VT 05701

                 PHYSICIANS RECORD CO
                 3000 SOUTH RIDGELAND AVE
                 BERWYN, IL 60402-2700
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                 PINNACLE PUBLISHING
                 BOX 402013
                 DES MOINES, IA 05090-2013

                 PIPETTE REPAIR SERVICE INC
                 5324 HOUNDMASTER RD
                 MIDLOTHIAN, VA 23112

                 PITNEY BOWES GLOBAL FIN SERV
                 PO BOX 371887
                 PITTSBURGH, PA 15250-7887

                 PITNEY BOWES INC
                 PURCHASE POWER
                 PO BOX 371896
                 PITTSBURGH, PA 15250-7896

                 PLATINUM CODE
                 8095 215TH ST WEST
                 LAKEVILLE, MN 55044

                 PMA
                 PO Box 3031
                 Blue Bell, PA 19422

                 PMA
                 PO Box 5231
                 Janesville, WI 53547

                 PMA
                 STATE EMPLOYEES
                 PO BOX 5231
                 JANESVILLE, WI 53547-5231

                 POLLI BROTHERS CUTLERY SERVICE
                 61 CORTELLO DR
                 BRANDON, VT 05733

                 POSITIVE PROMOTIONS
                 ATTN: ACCOUNTS RECEIVABLE
                 PO BOX 18021
                 HAUPPAUGE, NY 11788-8821

                 POSTMASTER (SPFLD)
                 SPRINGFIELD POST OFFICE
                 132 MAIN STREET
                 SPRINGFIELD, VT 05156

                 PRECISION DYNAMICS CORP
                 PO BOX 71549
                 CHICAGO, IL 60694-1995

                 PREMIER HEALTHCARE SOLUTIONS
                 5882 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693
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                 PREPAK PRODUCTS
                 4055 OCEANSIDE BLVD STE L
                 OCEANSIDE, CA 92056-5821

                 PRESSURE POSITIVE CO
                 128 OBERHOLTZER ROAD
                 GILBERTSVILLE, PA 19525

                 Primex
                 46 Donovan Street
                 CONCORD, NH 03001

                 PRIMMER PIPER EGGLESTON & CRAM
                 PO BOX 1489
                 BURLINGTON, VT 05402

                 PRIORITY EXPRESS
                 PO BOX 426
                 WILLISTON, VT 05495-0426

                 PRO ACT, INC.
                 154-A W. FOOTHIL BLVDSUITE 316
                 UPLAND, CA 91786

                 PROACT INC
                 PO BOX 1179
                 BUFFALO, NY 14240

                 PROCE, INC
                 SIDP
                 C/O PROCE, INC
                 BARTLETT, IL 60103

                 PROFICIENT SURGICAL
                 99 SEAVIEW BLVD
                 SUITE C
                 PORT WASHINGTON, NY 11050

                 Progressive
                 Po Box 130
                 Pensacola, FL 32591-0130

                 PROSPECT REHAB
                 P O BOX 1365
                 3511 RICHVILLE RD
                 MANCHESTER CENTER, VT 05255

                 PUBLIC HEALTH INSTITUTE
                 C/O C/NET SOLUTIONS
                 2130 CENTER ST
                 BERKELEY, CA 94704-1024

                 QBE
                 PO Box 975
                 Sun Prairie, WI 53590
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                 QIAGEN INC
                 PO BOX 5132
                 CAROL STREAM, IL 60197-5132

                 QU VA PHARMA, INC
                 ATTN: ACCOUNTING DEPT
                 1075 WEST PARK ONE DRIVE
                 SUGAR LAND, TX 77478

                 QUANTROS INC
                 PO BOX 206497
                 DALLAS, TX 75320-6497

                 QUIDEL
                 FILE 50177
                 LOS ANGELES, CA 90074-0177

                 QUINCE MEDICAL & SURGICAL
                 30 CHAPIN ROAD
                 UNIT 1209
                 PINE BROOK, NJ 07058

                 QUORUM HEALTH RESOURCES LLC
                 ATTENTION: DEPT 9100
                 1573 MALLORY LANE SUITE 200
                 BRENTWOOD, TN 37027

                 R&D BATTERIES INC
                 PO BOX 5007
                 BURNSVILLE, MN 55337-5007

                 R&R COMMUNICATIONS INC
                 PO BOX 10383
                 SWANZEY, NH 03446-0383

                 RACHEL THURSTON
                 830 MORNINGSIDE LANE
                 CHARLESTOWN, NH 03603

                 RAILROAD MEDICARE PHYSICIAN
                 PO BOX 10066
                 AUGUSTA, GA 30999-0001

                 RANDY PERYER


                 RAPID LEARNING INSTITUTE
                 (a division of Business 21 Publishing)
                 1510 CHESTER PIKE, STE 310
                 EDDYSTONE, PA 19022

                 RAYMOND FORSELL
                 dba FIRE1
                 31 MOSS GLEN LANE
                 SO BURLINGTON, VT 05403
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                 RECORD MICHAEL
                 408 DODGE RD
                 CHESTER, VT 05143

                 RED HOUSE PRESS CORP
                 PO BOX 181
                 N SPRINGFIELD, VT 05150

                 REFLECTION POINT CONSULTING
                 5 DAVIDSON AVE
                 MERRIMACK, NH 03054

                 REGISTRY PARTNERS INCORPORATED
                 2607 HOLLY HILL STREET
                 SUITE D
                 BURLINGTON, NC 27215

                 REPUBLIC SURGICAL CORP
                 800 HINGHAM ST 200 NORTH
                 ROCKLAND, MA 02370

                 RESTART
                 18 OVERBROOK DR
                 MIDDLEBURY, VT 05753

                 REVCYCLE+INC
                 a T-SYSTEM COMPANY
                 DEPT 3142
                 DALLAS, TX 75312-3142

                 REVENUE MANAGEMENT SOLUTIONS
                 9020 NORTH MAY AVE
                 SUITE 140
                 OKLAHOMA, OK 73120

                 RICHARD LANE
                 P O BOX 830
                 SPRINGFIELD, VT 05156

                 RICHARD MARASA
                 1 WALNUT HILL CT
                 SPRINGFIELD, VT 05156

                 RICHARD MAYER


                 RICHARD WINKFIELD
                 PO BOX 67
                 NORTH SUTTON, NH 03260

                 RICHARD WOLF MEDICAL INSTR
                 2573 MONUMENT PLACE
                 CHICAGO, IL 60689-5325
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                 RICHCO PRODUCTS INC
                 237 MEMORIAL DRIVE
                 SPRINGFIELD, MA 01104

                 RISK ENTERPRISE
                 300 CROWN COLONIAL
                 SUITE 111
                 QUINCY, MA 02169-0904

                 RITTENHOUSE BOOK DISTRIBUTORS
                 511 FEHELEY DRIVE
                 KING OF PRUSSIA, PA 19406-6655

                 RIVER STREET PHARMACY INC.
                 100 RIVER STREET
                 SPRINGFIELD, VT 05156

                 ROBERT CANTU
                 17 GOODFELLOW ROAD
                 HANOVER, NH 03755

                 ROBERT COCHRANE
                 37 STONINGTON CIRCLE
                 S BURLINGTON, VT 05403

                 ROBERT GOODRICH
                 47 COOPER ST
                 SPRINGFIELD, VT 05156

                 ROBYN PRIEBE
                 PO BOX 178
                 PROCTORSVILLE, VT 05153

                 ROCKINGHAM ARTS & MUSEUM PROJ
                 11 CANAL ST
                 BELLOWS FALLS, VT 05101

                 ROCKINGHAM ELECTRICAL SUPPLY
                 221 WASHINGTON ST
                 CLAREMONT, NH 03743

                 ROCKINGHAM FREE PUBLIC LIBRARY
                 BELLOWS FALLS, VT 05101


                 ROGER FOX
                 44 PIERCE ROAD
                 PERU, VT 05152

                 ROLLE SOLUTIONS INC
                 19083 CLEMANS DRIVE
                 CASTRO VALLEY, CA 94546-3626
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                 RONCO SPECIALIZED SYSTEMS INC
                 PO BOX 419894
                 BOSTON, MA 02241-9894

                 ROOTS PROPERTY MANAGEMENT
                 PO BOX 47
                 SAXTONS RIVER, VT 05154

                 ROSALIND KLEZOS
                 97 BROPHY LANE
                 LONDONDERRY, VT 05148

                 ROYAL GROUP
                 150 WOODSTOCK AVE
                 RUTLAND, VT 05701

                 ROYAL SUNALLIANCE
                 BOX 420
                 HARTFORD, CT 06141

                 ROYCE ROLLS RINGER CO
                 BOX 1831
                 GRAND RAPIDS, MI 49501

                 RR DONNELLEY
                 P O BOX 842307
                 BOSTON, MA 02284-2307

                 RUHOF
                 393 SAGAMORE AVENUE
                 MINEOLA, NY 11501-1919

                 RURAL CARRIERS BENEFIT PLAN
                 PO BOX 7404
                 LONDON, KY 40742

                 RURAL CARRIERS BENEFIT PLAN
                 BOX 668329
                 CHARLOTTE, NC 28266-8329

                 RUTH CODY
                 248 PARK VIEW
                 SPRINGFIELD, VT 05156

                 RUTLAND REGIONAL MED CENTER
                 160 ALLEN STREET
                 RUTLAND, VT 05701

                 RUTLAND REGIONAL MED CENTER
                 PO BOX 1311
                 WILLISTON, VT 05495-1311
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                 RYAN SMITH & CARBINE LTD
                 ATTORNEYS AT LAW
                 PO BOX 310
                 RUTLAND, VT 05702-0310

                 S&S WORLDWIDE INC
                 ACCOUNTS RECEIVABLE
                 PO BOX 845825
                 BOSTON, MA 02284-5825

                 SAFE SITTER INC
                 8604 ALLISONVILLE RD STE 248
                 INDIANAPOLIS, IN 56250-1597

                 SAMANTHA GRASER
                 24 OPERA HOUSE SQUARE BOX 36
                 CLAREMONT, NH 03743

                 SANDRA FISCHER
                 617-7 DEPOT STREET
                 CHESTER, VT 05143

                 SANDY PEPLAU
                 826 TWENTY MILE STREAM RD
                 S READING, VT 05153

                 SANOFI PASTEUR INC
                 12458 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693

                 SARA BERGERON
                 98 LAKE AVE
                 SUNAPEE, NH 03782

                 SARAH HEWITT
                 44 HEWITT DRIVE
                 N. POMFRET, VT 05053

                 SCANLAN INTERNATIONAL
                 ONE SCANLAN PLAZA
                 ST PAUL, MN 55107-1681

                 SCHAERER MEDICAL USA INC
                 675 WILMER AVE
                 CINCINNATI, OH 45226

                 SCOTT ARMSTRONG
                 33A FAIRGROUND RD
                 SPRINGFIELD, VT 05156

                 SCOTT BOLOTIN
                 221 DARBY HILL
                 BELLOWS FALLS, VT 05101
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                 SCOTT WHITTEMORE
                 88 UNION ST
                 SPRINGFIELD, VT 05156

                 SCOTTCARE CARDIOVASCULAR SOL
                 4791 WEST 150TH ST
                 CLEVELAND, OH 44135

                 SECURSHRED INC
                 PO BOX 2123
                 S BURLINGTON, VT 05407

                 Sedgewick
                 PO Box 14498
                 Lexington, KY 40521

                 Sedgwick
                 PO Box 14519
                 Lexington, KY 40512

                 Sedgwick Claims
                 PO Box 14492
                 Lexington, KY 40512-4492

                 Sentry Claims Focus
                 Po Box 8032
                 Stevens Point, WI 54481-8032

                 Sentry Insurance
                 PO Box 584
                 WESTFORD, MA 01886

                 SEQIRUS USA INC
                 WELLS FARGO LOCKBOX
                 PO BOX 934973
                 HAPEVILLE, GA 30354

                 SETH COOMBS
                 PO BOX 801430
                 KANSAS CITY, MO 64180-1430

                 SETH GUYETTE
                 16 JONESVILLE RD
                 CORNISH, NH 03745

                 SHAMROCK SCIENTIFIC
                 SPECIALTY SYSTEMS INC
                 PO BOX 143
                 BELLWOOD, IL 60104

                 SHANNON FARLEY
                 421 KENDRICKS CORNER
                 PERKINSVILLE, VT 05757
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                 SHARKEY IRA
                 20 GATEHOUSE ROAD
                 AMHERST, MA 01002

                 SHARN ANESTHESIA INC
                 3204 MONUMENT PLACE
                 CHICAGO, IL 60689-5332

                 SHERRI FOSTER
                 461 HOLDEN HILL
                 WESTON, VT 05161

                 SHERRY COBB
                 33 NEWFANE RD
                 WARDSBORO, VT 05355

                 SHERWIN WILLIAMS
                 246 RIVER ST-RT 106
                 SPRINGFIELD, VT 05156-9803

                 SHERWOOD BROOK
                 1177 PARK LAUGHTON ROAD
                 E. DUMMERSTON, VT 05346

                 SHI INTERNATIONAL CORP
                 PO BOX 41602
                 PHILADELPHIA, PA 19101-1602

                 SHI INTERNATIONAL CORP
                 PO BOX 952121
                 DALLAS, TX 75395-2121

                 Siemens Diagnostics Finance Co.
                 1717 Deerfield Road
                 Deerfield, IL 60015

                 Siemens Financial Services Inc.
                 170 Wood Avenue South
                 Iselin, NJ 08830

                 SIEMENS HEALTHCARE DIAGNOSTICS
                 PO BOX 121102
                 DALLAS, TX 75312-1102

                 SIGMA ALDRICH INC
                 PO BOX 535182
                 ATLANTA, GA 30353-5182

                 SIMONA FISHER
                 52 GRISWOLD DRIVE
                 BELLOWS FALLS, VT 05101

                 SKYTRON
                 16208 COLLECTIONS CENTER DR
                 CHICAGO, IL 60693
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                 SMALL BUSINESS COMPUTERS OF NE
                 62 LOWELL ST, STE 3
                 MANCHESTER, NH 03101

                 SMARTDRAW SOFTWARE, LLC
                 9909 MIRA MESA BLVD
                 SAN DIEGO, CA 92131

                 SMCS
                 25 RIDGEWOOD RD
                 SPRINGFIELD, VT 05156

                 SMCS
                 PO Box 710
                 Springfield, VT 05156

                 SMILEMAKERS
                 PO BOX 2543
                 SPARTANBURG, SC 29304-2543

                 SMITH & NEPHEW INC
                 PO BOX 205651
                 DALLAS, TX 75320-5651

                 SMITHS MEDICAL ADS INC
                 PO BOX 7247-7784
                 PHILADELPHIA, PA 19170-7784

                 SO VT REC CENTER FOUNDATION
                 140 CLINTSON ST
                 SPRINGFIELD, VT 05156

                 SOCIETY OF DIAGNOSTIC
                 MEDICAL SONOGRAPHY
                 PO BOX 200971
                 DALLAS, TX 75320-0971

                 SOJOURNS COMMUNITY CLINIC
                 4923 US ROUTE 5
                 WESTMINSTER, VT 05158

                 SOLUTION MATRIX INC
                 60 COMMERCE RD
                 ROCKY MOUNT, VA 24151

                 SOOTHING SCENTS
                 PO BOX 311367
                 ENTERPRISE, AL 36331

                 SOUTH ROYALTON HEALTH CENTER
                 PO BOX 17279
                 BELFAST, ME 04915-4067
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                 SOUTHEAST VERMONT TRANSIT
                 706 ROCKINGHAM RD
                 ROCKINGHAM, VT 05101

                 SOUTHWESTERN VT MED CTR
                 100 HOSPTAL DRIVE
                 BENNINGTON, VT 05201

                 SOUTHWORTH MILTON INC
                 PO BOX 3851
                 BOSTON, MA 02241-3851

                 SPECTRIO, LLC
                 PO BOX 890271
                 CHARLOTTE, NC 28289-0271

                 SPECTRUM BRANDS INC
                 7040 COLLECTION CENTER DRIVE
                 CHICAGO, IL 60693

                 SPRAGUE ENERGY CORP
                 PO BOX 842985
                 BOSTON, MA 02284-2985

                 SPRINGFIELD BOOSTER CLUB
                 PO BOX 666
                 SPRINGFIELD, VT 05156

                 SPRINGFIELD FIRE DEPARTMENT
                 77 HARTNESS AVE
                 SPRINGFIELD, VT 05156

                 SPRINGFIELD HEALTH AND REHAB
                 105 CHESTER RD
                 SPRINGFIELD, VT 05156

                 SPRINGFIELD HOSPITAL
                 PO BOX 2003
                 SPRINGFIELD, VT 05156

                 SPRINGFIELD HOSPITAL
                 P O BOX 1351
                 BRATTLEBORO, VT 05302-1351

                 SPRINGFIELD MEDICAL CARE SYST
                 P O BOX 4151
                 WOBURN, MA 01888-4151

                 SPRINGFIELD PHARMACY INC
                 262 RIVER ST
                 SPRINGFIELD, VT 05156

                 SPRINGFIELD REPORTER
                 151 SUMMER STREET
                 SPRINGFIELD, VT 05156-3503
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                 SPRINGFIELD TOWN LIBRARY
                 43 MAIN ST
                 SPRINGFIELD, VT 05156

                 STAAR SURGICAL CO
                 PO BOX 515160
                 LOS ANGELES, CA 90051-5160

                 STAGECOACH
                 BOX 356
                 RANDOLPH, VT 05060

                 STANDARD TEXTILE
                 PO BOX 630302
                 CINCINNATI, OH 45263-0302

                 STARKEY LABORATORIES INC
                 PO BOX 9457
                 MINNEAPOLIS, MN 55440-9878

                 STATE OF VERMONT
                 LOCK BOX
                 STATE OF VERMONT AGENCY OF HUMAN SERVICE
                 WILLISTON, VT 05495

                 STATE OF VERMONT
                 GREEN MTN CARE BOARD
                 ATTN: ERIN COLLIER
                 MONTPELIER, VT 05620

                 STATE OF VERMONT
                 DEPT OF ENVIRONMENTAL CONSERVATION
                 1 NATIONAL LIFE DR
                 MONTPELIER, VT 05620-3522

                 STATE OF VERMONT
                 CORIE DUNN
                 DEPT OF ENVIRONMENTAL CONSERVATION
                 MONTPELIER, VT 05620-3802

                 STEFANIE MCGOWAN
                 811 S BOULDIN ST
                 BALTIMORE, MD 21224

                 STEPHANIE CURRIE
                 186 COMMONWEALTH AVE
                 SPRINGFIELD, VT 05156

                 STEPHANIE PINNEY
                 dba FOR A HEALTHY TOMORROW
                 105 BUGBEE RD
                 SPRINGFIELD, VT 05156
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                 STERICYCLE INC
                 PO BOX 6582
                 CAROL STREAM, IL 60197-6582

                 STERIS CORPORATION
                 PO BOX 644063
                 PITTSBURGH, PA 15264-4063

                 STERIS INSTRUMENT MANAGEMENT
                 SERVICES, INC
                 PO BOX 531809
                 ATLANTA, GA 30353-1809

                 STEVE KROLICK
                 THE WINDOW MAN
                 220 MISSING LINK RD
                 SPRINGFIELD, VT 05156

                 Stirling and Stirling
                 20 Armory Lane
                 Milford, CT 06460

                 STRYKER ENDOSCOPY
                 C/O STRYKER SALES CORP
                 PO BOX 93276
                 CHICAGO, IL 60673

                 STRYKER INSTRUMENTS
                 STRYKER SALES CORP
                 PO BOX 70119
                 CHICAGO, IL 60673-0119

                 STRYKER SALES CORP
                 PO BOX 70119
                 CHICAGO, IL 60673-0119

                 SUBURBAN PROPANE
                 PO BOX 160
                 WHIPPANY, NJ 07981

                 SUBWAY
                 85 CLINTON STEET
                 SPRINGFIELD, VT 05156

                 SUGAR RIVER MEDIA LLC
                 P O BOX 2295
                 NEW LONDON, NH 03257

                 SUMMIT MEDICAL TECH INC
                 101 CONSTITUTION BLVD
                 SUITE B
                 FRANKLIN, MA 02038
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                 SUMMIT RECORDS MANAGEMENT
                 A DIVISON OF NORTHEAST RECLAIMING SERVIC
                 3 CORPORATE PARK DR, UNIT 4
                 DERRY, NH 03038

                 SUMMITT PROFESSIONAL EDUCATION
                 PO BOX 908
                 FRANKLIN, TN 37065

                 SUNSHINE ACRES NURSERY
                 PO BOX 1084
                 CHESTER, VT 05143

                 SUPPLYWORKS
                 PO BOX 404284
                 ATLANTA, GA 30384-4284

                 SURGICAL DIRECT, INC
                 909 S WOODLAND BLVD
                 DELAND, FL 32720

                 SUSAN ABRAHAM
                 143 WEST SHORE ROAD
                 SWANZEY, NH 03446

                 SUSAN CANTARA
                 1181 OLD CLAREMONT RD
                 CHARLESTOWN, NH 03603

                 SUSAN LANGLEY
                 141 PLESANT VIEW LANE
                 CHESTER, VT 05143

                 SUZANNE DELLORUSSO
                 332 SPRINGFIELD ROAD
                 CHARLESTOWN, NH 03603

                 SWISH MAINTENANCE LTD
                 703 PINE STREET
                 BURLINGTON, VT 05401-4921

                 SYNTHES
                 PO BOX 8538-662
                 PHILADELPHIA, PA 19171

                 T SYSTEMS TECHNOLOGIES LTD
                 PO BOX 122537
                 DEPT 2537
                 DALLAS, TX 75312-2537

                 TAMARA LOCKE
                 237 DRUMLIN RD
                 PERKINSVILLE, VT 05151
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                 TANNER FRIEDMAN
                 30600 NORTHWESTERN HIGHWAY SUITE 403
                 FRAMINGHILLS, MI 48334

                 TAYLOR FREEZER OF NE INC
                 1030 UNIVERSITY AVE
                 NORWOOD, MA 02062-2644

                 TDS
                 PO BOX 94510
                 PALATINE, IL 60094-4510

                 TELA BIO INC
                 1 GREAT VALLEY PARKWAY SUITE 24
                 MALVERN, PA 19355

                 TELCOR
                 7101 A ST
                 LINCOLN, NE 68510

                 TELEFLEX MEDICAL
                 PO BOX 601608
                 CHARLOTTE, NC 28260-1608

                 TERRY RYAN
                 152C MONUMENT HILL RD
                 SPRINGFIELD, VT 05156

                 TERRYBERRY
                 2033 OAK INDUSTRIAL DR NE
                 GRAND RAPIDS, MI 49505

                 TESSA CORLISS
                 373 EAST GREEN MT ROAD
                 CLAREMONT, NH 03743

                 THANA MCGARY
                 2624 HOPEWELL ROAD
                 MAYFIELD, KY 42066

                 THE ANGELL PENSION GROUP INC
                 88 BOYD AVENUE
                 EAST PROVIDENCE, RI 02914

                 THE CINCINNATI INS COMPANIES
                 PO BOX 145620
                 CINCINNATI, OH 45250-5620

                 THE DENTAL BOX, LLC
                 PO BOX 66940
                 ST LOUIS, MO 63166-6940

                 THE FREE RANGE
                 PO BOX 1099
                 CHESTER, VT 05143
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                 THE GUARDIAN
                 BOX 8024
                 APPLETON, WI 54912

                 THE HARTFORD
                 BOX 14170
                 LEXINGTON, KY 40512

                 THE HARTFORD
                 PO BOX 660916
                 DALLAS, TX 75266-0916

                 THE HARTFORD
                 WEBTPA
                 PO BOX 1928
                 GRAPEVINE, TX 76099

                 THE JOURNAL OF BONE & JOINT
                 SURGERY, INC
                 20 PICKERING STREET
                 NEEDHAM, MA 02492-3157

                 The Lawson Group
                 PO Box 3304
                 Concord, NH 03301

                 THE RICHARDS GROUP
                 ATTN: CHRISTINA FLOOD
                 PO BOX 820
                 BRATTLEBORO, VT 05302

                 THE STANDARD INSURANCE CO
                 PO BOX 3357
                 PORTLAND, OR 97208-3357

                 THE VAIL CORPORATION
                 PO BOX 731939
                 DALLAS, TX 75373-1939

                 THOMAS A HILLEBRAND DMD PA
                 110 CHARLESTOWN ROAD
                 CLAREMONT, NH 03743

                 THOMAS CONGDON
                 47 PINE ST
                 SPRINGFIELD, VT 05156

                 THOMAS MARSHALL
                 412 OAKLEIGH HILL
                 NASHVILLE, TN 37215-5802

                 THOMAS MCLEMORE
                 1358 AUSTIN RD APT C
                 SPRINGFIELD, VT 05156
Case 19-10283 Doc     1 Filed 06/26/19 Entered    06/26/19 14:19:51
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                 THOMAS ONLEY
                 268 N. RUNWAY ROAD
                 PERKINSVILLE, VT 05151

                 THOMAS SNIDE
                 8 LARK LANE
                 SPRINGFIELD, VT 05156

                 THYSSENKRUPP ELEVATOR CORP
                 PO BOX 933004
                 ATLANTA, GA 31193-3004

                 TIDI PRODUCTS, LLC
                 PO BOX 776290
                 CHICAGO, IL 60677-6290

                 Timothy Ford
                 120 Massey Road
                 Springfield, VT 05156

                 TIMOTHY MACK
                 95 OLD PIPER RD
                 BALTIMORE, VT 05143

                 TIMOTHY MELLO
                 923 COWSHED TRAIL
                 WEST WINDSOR, VT 05089

                 TIMOTHY ROLFE
                 32 SUMMER HILL
                 APT F
                 SPRINGFIELD, VT 05156

                 TINA HATHAWAY
                 5661 RT 5
                 WINDSOR, VT 05089

                 TODAYS OPTIONS
                 PO BOX 742568
                 HOUSTON, TX 77274-2568

                 TOM GRANT
                 13 DOUGLAS STREET
                 SPRINGFIELD, VT 05156

                 TOPGALLANT PARTNERS
                 75 GILCREST RD, STE 200
                 LONDONDERRY, NH 03053

                 Toshiba America Medical Credit
                 1111 Old Eagle School Road
                 Wayne, PA 19087
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                 TOSS CORPORATION
                 153 NORTHBORO RD STE 21
                 SOUTHBOROUGH, MA 01772

                 TOTALFUNDS
                 PO BOX 30193
                 TAMPA, FL 33630-3193

                 TOWN OF CHESTER
                 P O BOX 370
                 CHESTER, VT 05143

                 Town of Chester attn: David Pisha, Town
                 556 Elm Street
                 P.O. Box 370
                 Chester, VT 05143

                 TOWN OF SPRINGFIELD
                 SPRINGFIELD PARKS & RECREATION
                 139 MAIN ST
                 SPRINGFIELD, VT 05156

                 TOWN OF SPRINGFIELD
                 WATER & SEWER DEPARTMENT
                 96 MAIN STREET
                 SPRINGFIELD, VT 05156

                 TRADEBE ENVIRONMENTAL SERV LLC
                 PO BOX 845033
                 BOSTON, MA 22084-5033

                 Transamerica
                 PO Box 3350
                 Cedar Rapids, IA 52406-3350

                 Travelers
                 PO Box 1450
                 MIDDLEBORO, MA 02346

                 Travelers
                 PO Box 4614
                 Buffalo, NY 14240

                 TRAVELERS
                 BOX 1450
                 MIDDLEBORO, MA 02344-1450

                 TRI ANIM HEALTH SERVICES INC
                 25197 NETWORK PLACE
                 CHICAGO, IL 60673-1251

                 TRI STATE HOOD & DUCT LLC
                 26 HAMPSHIRE DR
                 HUDSON, NH 03051
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                 TRICARE
                 BOX 870140
                 SURFSIDE BEACH, SC 29587

                 TRICARE                          PHYSCIANS
                 BOX 870141
                 SURFSIDE BEACH, SC 29587

                 TRICARE                          REHAB
                 BOX 7011
                 CAMDEN, SC 29020-7011

                 TRICARE EAST
                 PO BOX 7981
                 MADISON, WI 53707-7981

                 Tricare For Life
                 Po Box 7890
                 Maddison, WI 53707

                 TRISTA BROWN
                 75 COREY HILL RD
                 SAXTONS RIVER, VT 05154

                 TRIUMVIRATE ENVIRONMENTAL
                 DEPT 106091
                 PO BOX 150502
                 HARTFORD, CT 06115-0502

                 Tufts Health Plan
                 PO Box 9183
                 WATERTOWN, MA 02471

                 Tufts Health Plan
                 PO Box 9163
                 Watertown, MA 02471-9163

                 TUSK ENTERPRISES, LLC
                 dba RHINO MEDICAL SERVICES
                 PO BOX 206912
                 DALLAS, TX 75320-6912

                 TWIN STATE PSYCHOLOGICAL SVS P
                 P O BOX 2003
                 SPRINGFIELD, VT 05156

                 U.S. DEPT OF EDUCATION AWG
                 PO BOX 790356
                 ST LOUIS, MO 63179-0356

                 ULINE
                 ATTN: ACCOUNTS RECEIVABLE
                 PO BOX 88741
                 CHICAGO, IL 60680-1741
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                 ULTRABENEFITS
                 100 NORTH PARKWAY
                 SUITE 302
                 WORCESTER, MA 01605-1349

                 UMR
                 PO Box 30541
                 Salt Lake City, UT 84130

                 UNE CAREER SERVICES
                 716 STEVENS AVE
                 PORTLAND, ME 04103

                 UNICARE EAP
                 PO BOX 5208
                 DENVER, CO 80217-5208

                 UNICARE HEALTH
                 PO BOX 9016
                 ANDOVER, MA 01810-9016

                 UNIFIRST CORPORATION
                 125 ETNA ROAD
                 LEBANON, NH 03766

                 UNIFORMS PLUS
                 411 WINCHESTER ST
                 KEENE, NH 03431-3914

                 United American Ins Co
                 PO Box 268818
                 Oklahoma, OK 73126-8818

                 United American Ins Co
                 PO Box 8080
                 Mckinney, TX 75070-5934

                 United Behavioral Health
                 PO Box 744925
                 Houston, TX 77274-4925

                 UNITED BEHAVIORAL HEALTH PSYCH
                 PO BOX 30602
                 SALT LAKE CITY, UT 84130-0602

                 United Behavorial Health
                 PO Box 8160
                 Emeryville, CA 94662-8160

                 United Health Insurance Co
                 PO Box 30985
                 Salt Lake City, UT 84130-0985
Case 19-10283 Doc     1 Filed 06/26/19 Entered    06/26/19 14:19:51
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                 United Health Intergrated
                 PO Box 30783
                 Salt Lake City, UT 84130-0783

                 United Healthcare
                 PO Box 25750
                 Baltimore, MD 21224

                 United Healthcare
                 PO Box 740372
                 Atlanta, GA 30374

                 United Healthcare
                 Po Box 740801
                 Atlanta, GA 30374

                 United Healthcare
                 PO Box 945690
                 Maitland, FL 32794

                 UNITED HEALTHCARE
                 P O BOX 1459
                 RTE MN010-S155
                 MINNEAPOLIS, MN 55440

                 United Healthcare
                 PO Box 30304
                 Salt Lake City, UT 84130

                 United Healthcare
                 PO Box 30996
                 Salt Lake City, UT 84130

                 United Healthcare
                 PO Box 1600
                 Kingston, NY 12402-1600

                 United Healthcare
                 PO Box 740813
                 Atlanta, GA 30374-0813

                 United Healthcare
                 PO Box 169058
                 Duluth, MN 55816-8280

                 United Healthcare
                 PO Box 659732
                 San Antonio, TX 78265-9732

                 United Healthcare
                 PO Box 659743
                 San Antonio, TX 78265-9743
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                 United Healthcare
                 PO Box 659753
                 San Antonio, TX 78265-9753

                 United Healthcare
                 PO Box 981502
                 El Paso, TX 79998-1502

                 United Healthcare
                 PO Box 5105
                 Englewood, CO 80155-5105

                 United Healthcare
                 PO Box 7126
                 San Francisco, CA 94120-7126

                 UNITED HEALTHCARE
                 BOX 740800
                 ATLANTA, GA 30374-0800

                 United Healthcare   HCVM
                 PO Box 30555
                 Salt Lake City, UT 84130-0555

                 United Healthcare Claims Division
                 PO Box 740819
                 Atlanta, GA 30374

                 UNITED HEALTHCARE HMO
                 PO BOX 31353
                 SALT LAKE CITY, UT 84131-0353

                 United Healthcare HMO    HCFA
                 9900 Ren Road East
                 Minnetonka, MN 55343

                 United Healthcare HMO FQHC
                 PO Box 31362
                 Salt Lake City, UT 84131-0362

                 United Healthcare HMO HCFA
                 PO Box 30995
                 Salt Lake City, UT 84130

                 United Healthcare HMO HCFA
                 PO Box 30965
                 Salt Lake City, UT 84130-0965

                 United Healthcare HMO HCFA
                 PO Box 30974
                 Salt Lake City, UT 84130-0974

                 United Healthcare Medicare HCFA
                 PO Box 30883
                 Salt Lake City, UT 84130-0883
Case 19-10283 Doc     1 Filed 06/26/19 Entered   06/26/19 14:19:51
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                 United Healthcare Multi Plan
                 PO Box 740809
                 Atlanta, GA 30374-0809

                 United Healthcare Oxford
                 PO Box 29130
                 Hot Springs, AR 71903

                 UNITED MEDICAL SYSTEMS
                 1700 WEST PARK DR, STE 410
                 WESTBOROUGH, MA 01581

                 United States Department of Agriculture,
                 87 State Street, Suite 324
                 P.O. Box 249
                 Montpelier, VT 05601

                 United States Department of Agriculture,
                 11 Elmwood Ave., 3rd Fl.
                 P.O. Box 570
                 Burlington, VT 05402-0570

                 United States Department of Health and H
                 Government Center, JFK Building, Suite 2
                 BOSTON, MA 02203

                 UNITED STATES TREASURY
                 INTERNAL REVENUE SERVICE
                 CINCINNATI, OH 45999-0149

                 United World Life Insurance
                 3316 Farnam St.
                 Omaha, NE 68175-0001

                 UNIVERSITY OF VERMONT
                 PO BOX 1389
                 WILLISTON, VT 05495-1389

                 UNIVERSITY OF VERMONT TSP/IMF
                 280 EAST AVE
                 BURLINGTON, VT 05401-3462

                 UNIVERSITY OF VT MED CTR INC
                 PO BOX 1902
                 BURLINGTON, VT 05402-1902

                 UP TO DATE INC
                 95 SAWYER RD
                 WALTHAM, MA 02453-3471

                 UPPER VALLEY ORAL SURGERY
                 16 AIRPORT RD
                 WEST LEBANON, NH 03784
Case 19-10283 Doc     1 Filed 06/26/19 Entered   06/26/19 14:19:51
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                 UPPER VALLEY PRODUCE
                 211 OLCOTT DR
                 WHITE RIVER JUNCTION, VT 05001

                 UPPER VALLEY REHAB
                 GENA LUNDQUIST
                 P O BOX 28
                 WOODSTOCK, VT 05091

                 US BANK EQUIPMENT FINANCE
                 PO BOX 790448
                 ST LOUIS, MO 63179-0448

                 US Department of Labor
                 DFEC Central Mailroom
                 PO Box 8300 District 1 BOS
                 London, KY 40742-8300

                 US DEPT OF LABOR
                 BOX 8300
                 DFEC CENTRAL MAILROOM
                 LONDON, KY 40742-8300

                 US ENDOSCOPY
                 STERIS CORPORATION
                 PO BOX 644063
                 PITTSBURGH, PA 15264-4063

                 US Family Health Plan
                 PO Box 9746
                 Portland, ME 04104

                 US FOODS INC
                 PO BOX 642554
                 PITTSBURGH, PA 15264-2554

                 US NUCLEAR REGULATORY COMM
                 OFFICE OF THE CHIEF FINANCIAL OFFICER
                 PO BOX 979051
                 ST. LOUIS, MO 63197-9000

                 USAA
                 PO Box 12750
                 Pensacola, FL 32591

                 USAA
                 PO Box 5000
                 Auto Injury Solutions
                 Daphne, AL 36526

                 USSA Life Insurance Co
                 9800 Fredericksburg Road
                 San Antonio, TX 78288-0346
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                 UVM MEDICAL CENTER
                 PO BOX 1810
                 BURLINGTON, VT 05402-1810

                 VAADS
                 SUE CHASE
                 CAREPARTNERS ADC
                 ST ALBANS, VT 05478

                 VAHHS
                 ATTN: BRIGITTE WALBRIDGE
                 148 MAIN STREET
                 MONTPELIER, VT 05602

                 VAHHS NSO
                 148 MAIN STREET
                 MONTPELIER, VT 05602

                 VALHALLA CORP
                 177 WESTERN AVE ST 2
                 ST JOHNSBURY, VT 05819

                 VALIC
                 c/o JP MORGAN CHASE
                 PO BOX 301701
                 DALLAS, TX 75303-1701

                 VALLEY REGIONAL HOSPITAL
                 ACCOUNTS PAYABLE
                 243 ELM ST
                 CLAREMONT, NH 03743

                 VANESSA SIPE
                 115C MONUMENT DRIVE
                 SPRINGFIELD, VT 05156

                 VARIDESK
                 PO BOX 660050
                 DALLAS, TX 75266

                 VERATHON INC
                 PO BOX 935117
                 ATLANTA, GA 31193-5117

                 Veritas Administrators
                 PO Box 215
                 Mokena, IL 60448

                 VERIZON WIRELESS
                 PO BOX 15062
                 ALBANY, NY 12212-5062

                 Vermont Agency of Human Services attn: S
                 280 State Street
                 Waterbury, VT 05676
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                 Vermont Agency of Human Services c/o VT
                 109 State Street
                 Montpelier, VT 05609-1001

                 VERMONT ANFP
                 ATTN: BRANDY HELM
                 177 A GOOSE LANE
                 BATH, NH 03740

                 VERMONT DEPART OF HEALTH
                 FOOD AND LODGING PROGRAM
                 108 CHERRY SREET
                 BURLINGTON, VT 05402

                 VERMONT DEPART OF HEALTH
                 PO BOX 70
                 BURLINGTON, VT 05402-0070

                 VERMONT DEPARTMENT OF HEALTH
                 OFFICE OF PROFESSIONAL REGULATION
                 128 STATE STREET
                 MONTELIER, VT 05633-1101

                 Vermont Department of Taxes
                 Bankruptcy Unit, 3rd Floor
                 109 State Street, P.O. Box 429
                 Montpelier, VT 05601-0429

                 VERMONT DEPT OF LABOR
                 PO BOX 132
                 BRATTLEBORO, VT 05302-0132

                 VERMONT DEPT OF TAXES
                 PO BOX 588
                 MONTPELIER, VT 05601-0588

                 VERMONT DMV
                 AGENCY OF TRANSPORTATION
                 PO BOX 1308
                 WILLISTON, VT 05495-1308

                 VERMONT ELEVATOR INSPECTIONS
                 8 PVT DUNNACK DR
                 W TOPSHAM, VT 05086

                 VERMONT EMS DISTRICT 11
                 PO BOX 564
                 DANIEL COOK, TREASURE
                 CHESTER, VT 05143

                 VERMONT ETHICS NETWORK
                 61 ELM ST 1ST FLOOR
                 MONTPELIER, VT 05602
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                 VERMONT HEATING AND VENT
                 16 TIGAN STREET
                 WINOOSKI, VT 05404

                 VERMONT JOURNAL
                 PO BOX 228
                 LUDLOW, VT 05149

                 VERMONT LIFE SAFETY LC
                 3504 THEODORE ROOSEVELT HWY
                 BOLTON, VT 05676

                 VERMONT MEDICAID
                 DXC TECHNOLOGY
                 BOX 888
                 WILLISTON, VT 05495-0888

                 VERMONT MEDICAL SOCIETY
                 PO BOX 1457
                 MONTPELIER, VT 05601-1457

                 VERMONT NETWORK
                 PO BOX 405
                 MONTPELIER, VT 05601

                 VERMONT NEWS GUIDE
                 P O BOX 1265
                 MANCHESTER CTR, VT 05255

                 VERMONT OFFENDER WORK PROGRAMS
                 VERMONT DEPT OF CORRECTIONS
                 103 S MAIN ST
                 WATERBURY, VT 05671-1001

                 VERMONT SUPERIOR COURT
                 12 THE GREEN
                 WOODSTOCK, VT 05091

                 VERMONT TELEPHONE COMPANY
                 PO BOX 2020
                 SPRINGFIELD, VT 05156

                 Veterans Affairs
                 215 North Main Street
                 FEE Services mail code 136F
                 White River Jct, VT 05009

                 VETERANS CHOICE PROGRAM
                 PO BOX 2748
                 VIRGINIA BEACH, VA 23450-2748

                 VIANOR TIRE & AUTO SERVICE
                 PO BOX 624
                 ESSEX JCT, VT 05453-0624
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                 VICTORIA ENO
                 9 WOODLAND DRIVE
                 SPRINGFIELD, VT 05156

                 VIRTUAL RADIOLOGIC CORP
                 25983 NETWORK PLACE
                 CHICAGO, IL 60673-1259

                 VISION SERVICE PLAN
                 PO BO 742788
                 LOS ANGELES, CA 90074-2788

                 VISITING NURSE AND HOSPICE OF VT & NH
                 88 PROSPECT STREET
                 WHITE RIVER JCT, VT 05001

                 VISTA STAFFING SOLUTIONS
                 FILE 50834
                 LOS ANGELES, CA 90074-0834

                 VITALIANO SICILIA
                 199 UNION AVE APT 1G
                 RUTHERFORD, NJ 07070

                 VLCT
                 89 MAIN STREET
                 SUITE 4
                 MONTPELIER, VT 05602-2948

                 VPNA LLC
                 4395 COLLECTIONS CENTER DRIVE
                 CHICAGO, IL 60693-0043

                 VRSCO c/oJP MORGAN CHASE
                 PO BOX 301086
                 DALLAS, TX 75303-1086

                 VSA VERMONT
                 21 CARMICHAEL ST
                 SUITE 206
                 ESSEX JCT, VT 05452

                 VSBIT
                 52 PIKE DRIVE
                 BERLIN, VT 05602-9185

                 VT DEPT OF HEALTH LABORATORY
                 PO BOX 55849
                 BOSTON, MA 02205

                 VYNE EDUCATION
                 PO BOX 200
                 BRENTWOOD, TN 37024
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                 WAL MART PHARMACY 10    1975
                 14 BOWEN ST
                 CLAREMONT, NH 03743

                 WALCOTT RX PRODUCTS INC
                 3 HARRYS COURT STE D
                 OCEANVIEW, NJ 08230

                 WALSEMANN CHIROPRACTIC LIFE CT
                 39 MYRTLE ST
                 CLAREMONT, NH 03743-2547

                 WARWICK ENTERPRISES
                 PO BOX 13
                 LADYSMITH, WI 54848

                 Washington National Ins Co
                 PO Box 2034
                 Carmel, IN 46082

                 WASSERSTROM COMPANY
                 PO BOX 182056
                 COLUMBUS, OH 43218-2056

                 WATER RESERVES USA
                 117 PERLEY GORDON RD
                 APT 2
                 SPRINGFIELD, VT 05156

                 WAUSAU INSURANCE
                 BOX 4834
                 SYRACUSE, NY 13221-4834

                 WAUSAU INSURANCE
                 BOX 8013
                 WAUSAU, WI 54402

                 WEATHERBY LOCUMS INC
                 PO BOX 972633
                 DALLAS, TX 75397-2633

                 WEB TPA
                 PO Box 310
                 Grapevine, TX 76099-0310

                 WEBTPA Multi plan
                 PO Box 1928
                 Grapevine, TX 76099-1928

                 WEEKS & GOWEN PHYSICAL THERAPY
                 PO BOX 1467
                 CHARLESTOWN, NH 03603-9998
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                 WELCH ALLYN INC
                 PO BOX 73040
                 CHICAGO, IL 60673-7040

                 Well Care Health Plan HMO HCFA
                 PO Box 31392
                 Tampa, FL 33631-1392

                 Well Sense Health Plan
                 PO Box 55049
                 Boston, MA 02205-5049

                 WELLER ROBERT
                 P O BOX 54
                 CHARLESTOWN, NH 03603

                 WELLSKY SYNERGY HUMAN & SOCIAL
                 SERVICES CORPORATION
                 PO BOX 205311
                 DALLAS, TX 75320-5311

                 WENDY SCHWARZ
                 dba THE HEALING EXPERIENCE
                 PO BOX 611
                 CHESTER, VT 05143

                 WEST INTERACTIVE SERVICES CORP
                 PO BOX 74007064
                 CHICAGO, IL 60674-7064

                 WESTINE CHERYL
                 639 OLD STAGE RD
                 CHESTER, VT 05143

                 WESTMINSTER COURIER SERVICE LL
                 PO BOX 256
                 BELLOWS FALLS, VT 05101

                 WESTONE LABORATORIES
                 PO BOX 15100
                 COLORADO SPRINGS, CO 80935-9836

                 WHEN TO WORK INC
                 360 E 1ST ST #301
                 TUSTIN, CA 92780

                 WHITE RIVER VALLEY AMBULANCE
                 3190 PLEASANT ST
                 BETHEL, VT 05032

                 WIDEX USA INC
                 PO BOX 123721
                 DALLAS, TX 75312-3721
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                 WILDLIFE ENCOUNTERS, LLC
                 152 CHARLES ST
                 ROCHESER, NH 03867

                 WILLIAM DOOLEY
                 38 3RD STREET
                 HOOSICK FALLS, NY 12090

                 WILMA PARKER
                 17 DODGE ROAD
                 CHESTER, VT 05143

                 WINDSTREAM
                 PO BOX 9001013
                 LOUISVILLE, KY 40290-1013

                 WINTHROP RESOURCES CORP
                 PO BOX 650
                 HOPKINS, MN 55343-0650

                 Winthrop Resources Corporation
                 11100 Wayzata Boulevard
                 Suite 80
                 Minnetonka, MN 55305

                 WOODBURY FLORIST
                 400 RIVER ST
                 SPRINGFIELD, VT 05156

                 WORKERS' COMEPSATION SERVICES
                 PO BOX 370254
                 DENVER, CO 80237-0254

                 WRIGHT MEDICAL TECHNOLOGY INC
                 PO BOX 503482
                 ST LOUIS, MO 63150-3482

                 XODUS MEDICAL INC
                 702 PROMINENCE DRIVE
                 NEW KENSINGTON, PA 15068

                 XR IMAGING NETWORK CO
                 TWO COMMERCE DRIVEAIRPORT PARK
                 WARWICK, RI 02886

                 YANKEE SIGN CO
                 38 CREHORE RD
                 WALPOLE, NH 03608

                 YOUNG'S FURNITURE & APPLIANCES
                 SPRINGFIELD SHOPPING PLAZA
                 SPRINGFIELD, VT 05156
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                 ZIMMER US INC
                 PO BOX 414666
                 BOSTON, MA 02241-4666

                 ZOLL MEDICAL CORP
                 GPO
                 PO BOX 27028
                 NEW YORK, NY 10087-7028

                 Zurich
                 PO Box 968070
                 Schaumburg, IL 60196

                 Zurich
                 PO Box 968044
                 Schaumburg, IL 02344-1450

                 ZURICH NORTH AMERICA
                 PO BOX 66941
                 CHICAGO, IL 60666
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                                                               United States Bankruptcy Court
                                                                        District of Vermont
 In re      Springfield Hospital, Inc.                                                                    Case No.
                                                                                 Debtor(s)                Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Springfield Hospital, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 26, 2019                                                       /s/ Andrew C. Helman
 Date                                                                Andrew C. Helman
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Springfield Hospital, Inc.
                                                                     Murray Plumb & Murray
                                                                     PO Box 9785
                                                                     75 Pearl Street
                                                                     Portland, ME 04104
                                                                     2075238290 Fax:2077738023
                                                                     ahelman@mpmlaw.com




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